            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 1 of 91




   No. 24-1733
        IN THE UNITED STATES COURT OF APPEALS
                FOR THE SECOND CIRCUIT

                   VERIZON COMMUNICATIONS INC.,
                                           Petitioner,
                                      v.
      UNITED STATES FEDERAL COMMUNICATIONS COMMISSION
                and UNITED STATES OF AMERICA,
                                           Respondents.

                On Petition for Review of an Order of
              the Federal Communications Commission

                    BRIEF FOR RESPONDENTS


                                       P. Michele Ellison
                                         General Counsel
                                       Jacob M. Lewis
                                         Deputy General Counsel
                                       Sarah E. Citrin
Doha G. Mekki                           Deputy Associate General Counsel
  Acting Assistant                     Scott M. Noveck
    Attorney General                     Counsel
Robert B. Nicholson                    FEDERAL COMMUNICATIONS
Matthew A. Waring                        COMMISSION
  Attorneys                            45 L Street NE
U.S. DEPARTMENT oF JUSTICE             Washington, DC 20554
950 Pennsylvania Ave. NW               (202) 418-1740
Washington, DC 20530                   fcclitigation@fcc. gov
                  Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 2 of 91




                                 TABLE OF CONTENTS

                                                                                                Page
TABLE OF AUTHORITIES .......................................................................iii
INTRODUCTION........................................................................................ 1
JURISDICTIONAL STATEMENT ............................................................. 4
STATEMENT OF THE ISSUES ................................................................. 6
STATEMENT OF THE CASE..................................................................... 6
     A. Statutory And Regulatory Background .................................. 6
     B. Factual Background ............................................................... 10
     C. The Commission's Forfeiture Order ...................................... 14
STANDARD OF REVIEW......................................................................... 19
SUMMARY OF THE ARGUMENT .......................................................... 20
ARGUMENT ............................................................................................. 23
I.   THE COMMISSION PROPERLY CONCLUDED THAT CUSTOMER
        LOCATION DATA Is CPNI PROTECTED By SECTION 222.............. 2 3
        A.      The Location Data Is "Information That Relates To The
                * * * Location" Of A Telecommunications Service................ 2 4
       B.       The Location Data Was "Made Available To The
                Carrier * * * Solely By Virtue Of The Carrier-
                Customer Relationship." ........................................................ 29
II.     THE COMMISSION'S FORFEITURE DETERMINATION Is
        REASONABLE AND SUPPORTED By THE RECORD. ........................ 3 3
        A.      The Commission Reasonably Found That Verizon
                Failed To Protect Customer Location Data. ......................... 34
       B.       The Commission Reasonably Found That Verizon
                Committed 63 Continuing Violations By Continuing
                To Share Location Data With 63 Separate Entities............. 4 4
III. THE CoMM1ss1on's FORFEITURE PROCEDURES DID NOT
       VIOLATE THE SEVENTH AMENDMENT. ........................................ 47




                                                  (i)
                  Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 3 of 91




                                 TABLE OF CONTENTS
                                     (continued)
                                                                                               Page
        A.
        The Seventh Amendment Is Not Implicated Because
        Verizon Had (But Chose To Forge) The Opportunity
        For A Jury Trial. .................................................................... 48
    B. The Seventh Amendment Is Not Implicated Because
        This Case Involves Public Rights, Not Private Rights
        With A Common Law Analogue. ........................................... 54
CONCLUSION .......................................................................................... 66
CERTIFICATE OF COMPLIANCE .......................................................... 67
STATUTORY ADDENDUM...................................................................... 68




                                                 (ii)
                  Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 4 of 91




                               TABLE OF AUTHORITIES

Cases:                                                                                       Page(s)
ABC, Inc. U. FCC,
  404 F. App'x 530 (2d Cir. 2011) (unpublished) ............................... 5, 19
AT&T Corp. U. FCC,
  323 F.3d 1081 (D.C. Cir. 2003) ............................................ 5,14,15,19
Belt. & Carolina Line, Inc. U. Redman,
    295 U.S. 654 (1935) .............................................................................. 52

Bates & Guild Co. U. Payne,
  194 U.S. 106 (1904) .............................................................................. 64

Cablevision Sys. Corp. U. FCC,
  570 F.3d 83 (2d Cir. 2009) ................................................................... 20
Crescent U. City of New York,
  939 F.3d 511 (2d Cir. 2019) ................................................................. 27

Crowell U. Benson,
  285 U.S. 22 (1932) ................................................................................ 64

Dougan U. FCC,
    21 F.3d 1488 (9th Cir. 1994>.................................................................. 5

Erwtl. Def. Fund U. U.S. EPA,
  369 F.3d 193 (Qd Cir. 2004> ........................................................... 33, 45

Ex parte Peterson,
    253 U.S. 300 (1920) .............................................................................. 50

Galdieri-Ambrosini U. Nat'l Realty & Dev. Corp.,
    136 F.3d 276 (Qd Cir. 1998> ................................................................. 52

Grid Radio U. FCC,
  278 F.3d 1314 (D.C. Cir. 2002) ............................................................ 33
In re Next Wave Pens. Commc'ns, Inc. ,
    200 F.3d 43 (2d. Cir. 1999) .................................................................. 62

                                                  (iii)
                   Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 5 of 91




                                TABLE OF AUTHORITIES
                                     (continued)
                                                                                                Page(s)
Integrated Waste Servs., Inc. U. Akio Nobel Salt, Inc. ,
   113 F.3d 296 (Qd Cir. 1997> ................................................................. 56
JP Morgan Chase Bank U. Altos Hornos de Mex., S.A. de CV,
  412 F.3d 418 (2d Cir. 2005) ................................................................. 50
Lind/1 U. Murphy,
   521 U.S. 320 (1997) .............................................................................. 27

Lockhart U. United States,
  577 U.S. 347 (2016) .............................................................................. 29

Loper Bright Enters. U. Raimondo,
  603 U.S. 369 (2024) .............................................................................. 20

Miss. Comm'n on Erwtl. Quality U. EPA,
   790 F.3d 138 (D.C. Cir. 2015) .............................................................. 38

Mizrahi U. Gonzales,
   492 F.3d 156 (Qd Cir. 2007> ................................................................. 26

Mann U. Illinois,
  94 U.S. 113 (1877) ................................................................................ 63

N.J. Steam Nav. Co. U. Merchs.'Bank oBos.,
   47 U.S. (6 How.) 344 (1848) ................................................................. 63
NetChoiee, L.L. C. U. Paxton,
  49 F.4th 439 (5th Cir. 2022), vacated and remanded, 603 U.S.
  707 (2024) ............................................................................................. 63

Oil States Energy Servs., LLC U. Greene's Energy Grp., LLC,
   584 U.S. 325 (2018) ........................................................................ 61, 62

Overwell Harvest, Ltd. U. Trading Techs. Int'l, Inc. ,
  114 F.4th 852 (7th Cir. 2024> .............................................................. 51



                                                    (iv)
                   Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 6 of 91




                               TABLE OF AUTHORITIES
                                    (continued)
                                                                                              Page(s)
Parklane Hosiery Co. U. Shore,
  439 U.S. 322 (1979) .............................................................................. 50
PDR Network, LLC U. Carlton & Harris Chiropractic, Inc. ,
    588 U.S. l (2019) .................................................................................. 53

Pleasant Broad. Co. U. FCC,
   564 F.2d 496 (D.C. Cir. 1977) .......................................................... 5, 51

Rudolf U. City of New York,
  822 F.2d 324 (Qd Cir. 1987> ................................................................. 50

Russello U. United States,
  464 U.S. 16 (1983) ................................................................................ 27

Salazar U. Nat'l Basketball Ass'n,
  118 F.4th 533 (2d Cir. 2024) ................................................................ 59
SBC Commc'ns Inc. U. FCC,
  373 F.3d 140 (D.C. Cir. 2004) .............................................................. 45

Scripps-Howard Radio U. FCC,
  316 U.S. 4 (1942) .................................................................................. 64
SEC U. Jamesy,
  603 U.S. 109 (2024) ...................................................................... passim
Terminate Control Corp. U. Horowitz,
  28 F.3d 1335 (2d Cir. 1994) ................................................................. 52

United States U. Any & All Radio Station Trans. Equip.,
    207 F.3d 458 (8th Cir. 2000) ................................................................ 53

United States U. Chestman,
  947 F.2d 551 (Qd Cir. 1991> ................................................................. 38

United States U. Dunifer,
  219 F.3d 1004 <9th Cir. 2000>.............................................................. 53


                                                   (v)
                   Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 7 of 91




                                TABLE OF AUTHORITIES
                                     (continued)
                                                                                                Page(s)
United States U. Gasperini,
  894 F.3d 482 (Qd Cir. 2018> ................................................................. 38

United States U. Peninsula Comme'ns, Inc.,
  335 F. Supp. 2d lol3 (D. Alaska 2004) ............................................... 50
United States U. Stevens,
  691 F.3d 620 (5th Cir. 2012) ................................................................ 53

Virginian Ry. Co. U. United States,
   272 U.S. 658 (1926) .............................................................................. 64

Administrative Materials:
2002 CPN] Order:
  Telecomms. Carriers' Use of Customer Proprietary Network
  Info. & Other Customer Info., 17 FCC Rod. 14860 (2002).................... 7
2007 CPN] Order:
  Telecomms. Carriers' Use of Customer Proprietary Network
  Info. & Other Customer Info., 22 FCC Rod. 6927 (2007), pet. for
  rev. denied, Nat'l Cable & Telecomms. Ass'n U. FCC, 555 F.3d
  996 (D.C. Cir. 2009) ............................................................... 8, 9, 22, 40

In re TerraCom, Inc. ,
    29 FCC Rod. 13325 (2014) ................................................................... 45

Constitution, Statutes, And Regulations:
U.S. Const. Amend. VII ...................................................................... 47, 54
5 U.S.C. § 703 ........................................................................................... 53
5 U.S.C. § 706 ........................................................................................... 51
5 U.S.C. § 706(2) ....................................................................................... 19



                                                    (vi)
                   Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 8 of 91




                                TABLE OF AUTHORITIES
                                     (continued)
                                                                                                Page(s)
18 U.S.C. § 2710........................................................................................ 59
28 U.S.C. § 2842(1> ..................................................................................... 5

28 U.S.C. § 2844.......................................................................................... 5
28 U.S.C. § 2482........................................................................................ 5 1

Communications Act of 1934, as amended,
  47 U.S.C. §§ 151 et seq. ................................................................ passim
    47 U.S.C. § 153(51>............................................................................... 32

    47 U.S.C. § 217 ............................................................................. 2, 7, 40

    47 U.S.C. § 222 ............................................................................. passim

    47 U.S.C. § 222(3) .................................................................. l, 6, 37, 57
    47 U.S.C. § 222<@><1>..................................................................... passim

    47 U.S.C. § 222<d)(4> ...................................................................... 21, 26

    47 U.S.C. § 222(d)(4)(A) ....................................................................... 28

    47 U.S.C. § 222(f)(1) ................................................................. 21,26,28
    47 U.S.C. § 222(h)(l)(A) ............................................................... passim

    47 U.S.C. § 301......................................................................... 53, 61, 62

    47 U.S.C. § 307(3) ................................................................................61
    47 U.S.C. § 312(f)(1) ............................................................................... 9

    47 U.S.C. § 332<@><1).............................................................................61

    47 U.S.C. § 402(a) ...................................................................... 5, 14, 15



                                                   (vii)
                   Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 9 of 91




                                TABLE OF AUTHORITIES
                                     (continued)
                                                                                               Page(s)
    47 U.S.C. § 503(b)(l)(B) ......................................................................... 9

    47 U.S.C. § 503(b)(2)(B) ......................................................................... 9

    47 U.S.C. § 503(b)(2)(E) ............................................................. 9, 10, 47

    47 U.S.C. § 503<b)(3> ...................................................................... 14, 49

    47 U.S.C. § 503<b)(4> ............................................................ 4,15,48,49

    47 U.S.C. § 504(a) ........................................................................ passim

    47 U.S.C. § 510 ..................................................................................... 53
47 C.F.R. § 1.4(b)(2) .................................................................................... 5

47 C.F.R. § 1.80<b> ...................................................................................... 9

47 C.F.R. § 1.80<b)(11> .............................................................................. 10

47 C.F.R. § l.80(8) .................................................................................... 15
47 C.F.R. § l.80(8)(5) ................................................................................ 15

47 C.F.R. Part 64, Subpart U,
  47 C.F.R. §§ 64.2001 et seq. ......................................................... passim
    47 C.F.R. § 64.2003(e) & (z) ................................................................. 31

    47 C.F.R. § 64.2003<k)............................................................................ 8

    47 C.F.R. § 64.2007<b> ............................................................................ 7

    47 C.F.R. § 64.2008(b)-(@> & (Q)............................................................. 8

    47 C.F.R. § 64.2010 ........................................................................17, 34

    47 C.F.R. § 64.2010(a)......................................................................9, 57



                                                  (viii)
                 Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 10 of 91




                             TABLE OF AUTHORITIES
                                  (continued)
                                                                                       Page(s)
Other Authorities:
Antonin Scalier & Bryan A. Garner,
  Reading Law: The Interpretation of Legal Texts (2012) ..................... 27
Jennifer Valentino-DeVries, Service Meant to Monitor Inmates '
   Calls Could Track You, Too, N.Y. Times (May 10, 2018) .     I passim

Matthew Hale, De Portibus Maris, in A Collection of Tracts
  Relative To the Law of England (Francis Hargrave ed., 1787).......... 63
Restatement (Second) of Torts ................................................................. 5 8
Verizon Commons, Inc., Form l0-K (Feb. 9, 2024)................................. 4 7




                                               (ix)
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 11 of 91




   No. 24-1733
         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE SECOND CIRCUIT

                    VERIZON COMMUNICATIONS INC.,
                                           Petitioner,
                                      v.

       UNITED STATES FEDERAL COMMUNICATIONS COMMISSION
                 and UNITED STATES OF AMERICA,
                                           Respondents.

                 On Petition for Review of an Order of
               the Federal Communications Commission

                    BRIEF FOR RESPONDENTS


                            INTRODUCTION
     Section 222 of the Communications Act of 1934, as amended,
requires telecommunications carriers-such as Verizon, which provides

wireless telephone service to millions of customers-to safeguard their
customers' confidential information. 47 U.S.C. § 222(3) & (c)(l). That

duty encompasses "information that relates to the * * * location * * * of a

telecommunications service."       Id. § 222(h)(l)(A).       Because wireless

phones must continuously communicate with a calrrier's cellular towers

                                      l
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 12 of 91




to ensure that users can receive and make calls, Verizon knows every
customer's approximate location at all times.

     But Verizon failed to safeguard that highly sensitive customer
information. Until March 2019, Verizon operated a "location-based

services" (LBS) program that sold access to customer location data to
commercial "aggregators" which in turn supplied this information to
"LBS providers" that provided various location-related services. In all,
Verizon sold customer location data to 65 entities (two aggregators and

63 LBS providers). Although the Communications Act provides that the

"failure of any officer, agent, or other person acting for or employed by
any common carrier * * * shall in every case be also deemed to be the act,

omission, or failure of such common carrier," 47 U.S.C. § 217, Verizon did

not directly oversee or ensure that its commercial partners complied with

its obligation to protect this sensitive information. Instead, Verizon
relied on contractual provisions directing the aggregators to provide
notice to users and to obtain consent before using location information,

with the aggregators in turn contractually assigning that responsibility
to each LBS provider, and Verizon contracted with a third-party auditor

to ostensibly monitor compliance.


                                       2
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 13 of 91




     This attenuated chain of contractual arrangements proved
ineffective. In May 2018, the New York Times reported that a Missouri
sheriff was able to access customer location information for hundreds of

people through LBS provider Securus Technologies-which, through a
chain of other entities, purchased that information from Verizon and
other carriers-without legal authorization and without the customers'
knowledge or consent. The Times reported that the sheriff used this
information to unlawfully track a local judge, multiple highway patrol

officers, and his predecessor as sheriff, among others.

     Despite learning in May 2018 that its protections were ineffective
(and despite an earlier 2017 internal report identifying weaknesses in its

protections), Verizon did not promptly act to identify and fix the
vulnerabilities, nor did it suspend its location data-sharing program until

the vulnerabilities were identified and resolved. It announced its
intention to eventually shut down the program, yet initially it terminated

access only for Securus and one other related provider. It did not even
suspend the aggregator that had the contractual obligation to monitor
Securus. Instead, Verizon continued to sell its customers' location data

for 204 days to 58 entities, and for 324 days to another 5 entities, while


                                       3
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 14 of 91




continuing to rely principally on contractual arrangements that had
proven ineffective at protecting this sensitive information.

     In the Order under review, the Commission assessed a monetary
forfeiture on Verizon for its failure to safeguard customer information as

required by Section 222. Forfeiture Order, In re Verizon Commc'ns, 39
FCC Rod. 4259 (2024) (Order), reprinted at JA45-90. Specifically, the

Commission found that Verizon committed 63 continuing violations of
the Act-one for each of the 63 entities to which Verizon continued
providing access to customer location data after the New York Times
article exposed that its purported safeguards were ineffective and that it
was not meaningfully in control of information it provided to these
entities. That conclusion was both lawful and reasonable, and Verizon's

objections to the forfeiture and to the Commission's forfeiture process
have no merit. The petition for review should be denied.
                  JURISDICTIONAL STATEMENT
     The forfeiture order challenged here was adopted pursuant to the

procedures set forth in 47 U.S.C. § 503(b)(4) and was released on April

29, 2024.    A forfeiture imposed under Section 503(b)(4) "shall be
recoverable pursuant to section 504(a)," 47 U.S.C. § 503(b)(4), which in

turn provides for the government to enforce a forfeiture penalty by

                                       4
              Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 15 of 91




bringing "a civil suit in the name of the United States" in federal district

court, id. § 504(a). Section 504(a) "creates an exception to the] general

rule" that Commission orders are subject to direct review in the courts of

appeals under 47 U.S.C. § 402(a) and 28 U.S.C. § 2342(1). AT&T Corp.

U. FCC, 323 F.3d 1081, 1084 (D.C. Cir. 2003); see Pleasant Broad. Co. U.

FCC, 564 F.2d 496 (D.C. Cir. 1977); Dougan U. FCC, 21 F.3d 1488 (9th

Cir. 1994).

     The D.C. Circuit has held, however, that if the subject of a forfeiture

elects to preterit the enforcement action contemplated under Section
504(a) by paying the forfeiture penalty (as Verizon has done here), it may

then seek review directly in the court of appeals under Section 402(a).

See AT&T Corp., 323 F.3d at 1083-85. This Court has not specifically

addressed whether it may entertain a petition for review in this
circumstance, but it has undertaken review in at least one case in which

such payment was made, ABC, Inc. U. FCC, 404 F. App'x 530 (2d Cir.

2011) (unpublished summary order).

     Verizon paid the forfeiture penalty on May 22, 2024, and filed its

petition for review on June 25, 2024, within 60 days of the release of the

Order. See 28 U.S.C. § 2344; 47 C.F.R. § l~4(b)(2).



                                         5
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 16 of 91




                     STATEMENT OF THE ISSUES
      l. Whether       the Commission correctly interpreted             the
Communications Act's protections for "customer proprietary network
1`nfolrmation" to include wireless customers' location information.

      2. Whether the Commission's finding that Verizon failed to
adequately protect its customers' location information and the resulting
forfeiture penalty were reasonable and supported by the record.

      3. Whether the Commission's forfeiture procedures, which provide

the opportunity to pursue a de novo jury trial in federal district court
before the government can recover the forfeiture, comport with the
Seventh Amendment.
                      STATEMENT OF THE CASE
     A.    Statutory And Regulatory Background
      1. Section 222 of the Communications Act imposes on every

telecommunications carrier "a duty to protect the * * * proprietary
information of" its "customers." 47 U.S.C. § 222(a). One form of customer

data protected by the Act is "customer proprietary network information,   97




or CPNI, which includes "information that relates to the quantity,
technical configuration, type, destination, location, and amount of use of

a telecommunications service subscribed to by any customer of a

                                        6
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 17 of 91




telecommunications carrier, and that is made available to the carrier by

the customer solely by virtue of the carrier-customer relationship." Id.
§ 222(h)(l)(A). Section 222(c)(l) provides that a carrier "shall only use,
disclose, or permit access to individually identifiable [CPNI]" to provide

"the telecommunications service from which such information is derived"

or "services necessary to[] or used in" that service, "[e]xcept as required

by law or with the approval of the customer." Id. § 222(c)(l). When a
carrier relies on "any officer, agent, or other person acting for [it]" to
comply with its duties under the Act, that person's "act, omission, or
failure * * * shall in every case also be deemed the act, omission, or
failure of such carrier." Id. § 217.
      2. The FCC has issued regulations implementing Section 222's

requirements, codified at 47 C.F.R. Part 64, Subpart U (§§ 64.2001 et

seq.). Since 2002, the Commission's rules have required telecommunica-

lions carriers to obtain "opt-in approval" before sharing a customer's
CPNI with third parties, or with any of a carrier's affiliates not involved
in communications services. 47 C.F.R. § 64.200'7(b); see Telecomms.

Carriers' Use of Customer Proprietary Network Info. & Other Customer

Info., 17 FCC Red. 14860, 14883-84 'w 50-52 (2002) (2002 CPNI Order).

Opt-in approval "requires that the carrier obtain from the customer

                                        7
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 18 of 91




affirmative, express consent allowing the requested CPNI usage,
disclosure, or access after the customer is provided appropriate
notification of the calrlrier's request." 47 C.F.R. § 64.2003(k); see id.
§ 64.2008(b)-(c> & (Q).

     In 2007, the Commission extended the opt-in approval requirement

to the use of CPNI by a carrier's joint venture partner to market
communications services. See Telecomms. Carriers' Use of Customer
Proprietary Network Info. & Other Customer Info., 22 FCC Rod. 6927,

6947-54 W 37-50 (2007) (2007 CPN] Order), pet. for rev. denied, Nat'l

Cable & Telecomms. A5s'n U. FCC, 555 F.3d 996 (D.C. Cir. 2009) . That

order cautioned that "a carrier that practices willful blindness" regarding

the protection of CPNI likely "would not be able to demonstrate that it
has taken sufficient measures" to comply with Section 222 and the
Commission's rules. Id. at 6946 1 35. The Commission further clarified
that a carrier does not satisfy its obligation to obtain customer approval
before sharing CPNI with outside parties by simply adopting
"contractual safeguards" that purport to make the outside parties
responsible for protecting this information, given the heightened risks of

unauthorized disclosures when information is shared with outside
parties. Id. at 6952-53 1 49.

                                        8
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 19 of 91




      The Commission's rules further require that telecommunications
carriers "must take reasonable measures to discover and protect against
attempts to gain unauthorized access to CPNI." 47 C.F.R. § 64.2010(a).

The Commission codified this requirement in response to a growing
"black market for CPNI" and "the actions of data brokers * * * to obtain
private and personal information" from telecommunications carriers,
including from Verizon. 2007 CPN] Order, 22 FCC Red. at 6928-29

'w 1-2, 6034 'I 12 & n.35, 6946 'I 39.

      3. Any person who "willfully or repeatedly fail[s] to comply with

any of the provisions of [the Communications Act] or of any rule,
regulation, or order issued by the Commission * * * shall be liable to the

United States for a forfeiture penalty." 47 U.S.C. § 503(b)(l)(B).1 The

Act and the Commission's rules specify the maximum amount of the
forfeiture penalty and set out factors that the Commission will consider

in assessing a penalty. See id. § 503(b)(2)(B) & (E); 47 C.F.R. § l.80(b).

The Commission "shall take into account the nature, circumstances,
extent, and gravity of the violation and, with respect to the violator, the

1   For obligations under the Communications Act, "willful" means "the
    conscious and deliberate commission or omission of such act,
    irrespective of any intent to violate any provision." 47 U.S.C.
    § 3l2(f)(l); see Order W 70-72 (JA72).

                                        9
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 20 of 91




degree of culpability, any history of prior offenses, ability to pay, and such

other matters as justice may require." 47 U.S.C. § 503(b)(2)(E); 47 C.F.R.

§ l.80(b)(ll).
     B.     Factual Background
      1. Verizon provides mobile voice and data services to millions of

customers nationwide through its wireless network. Order 11 8 (JA48).

Because wireless devices must continuously communicate with a
carrier's cellular towers to enable users to receive and make calls, and
customers typically carry their phones on their person or keep them
nearby, carriers like Verizon know each customer's approximate location

at all times. Id. 1 23 (JA54).

     Until March 2019, Verizon ran a "Location-Based Services (LBS)

program" that "sold access to its customers' location information to
companies known as 'location information aggregators,' who then resold

access to such information to third-party location-based service
providers" (sometimes through additional intermediary companies).
Order 1 8 (JA48). "In total, Verizon sold access to its customers' location

information (directly or indirectly) to [65] third-party entities." Ibid.
These entities purportedly used customer location data for services such

as "roadside assistance, proximity marketing, transportation and

                                       10
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 21 of 91




logistics,   fraud    mitigation/identity      management,         and   mobile

gaming/lottery." Id. 11 10 (JA49).

      Verizon's LBS program "was largely governed via contractual
provisions." Order 1 9 (JA48). 'Verizon entered into contracts with

Aggregators," who "then entered into their own contracts with various
LBS providers." Ibid. "This arrangement meant that it was typically the

LBS providers who were obligated 'to provide notice and obtain consent'

from consumers-not the Aggregators or Verizon." Id. (JA49).

      Verizon similarly contracted with "a third-party Auditor, Aegis
Mobile," to ostensibly "validate and reconcile the records of consent
events and the records of each access" supplied by each LBS provider.

Order 1 II (JA49). Because Aegis relied on self-reported records from

LBS providers, however, a Verizon internal report in 2017 warned that

"'it is possible for [LBS] program companies * * * to falsify consent
records and obtain Werizon] subscriber data without [customers']
consent." Id. ii 12 (JA50). "According to Verizon, Aegis 'applied fraud
analytics techniques to refine its ability to broadly identify potential
issues going forward'-but Verizon offered no examples of issues
identified and addressed via such data analysis." Ibid.



                                       II
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 22 of 91




      2. On May 10, 2018, the New York Times reported that a Missouri

sheriff named Cory Hutchinson used a location-finding service from LBS

provider Securus Technologies to obtain unauthorized access to the
location data of hundreds of people without legal authorization and
without their consent. Order W 13-14 (JA50-5l); see Jennifer Valentino-

DeVries, Service Meant to Monitor Inmates' Calls Could Track You, Too,

N.Y. Times (May 10, 2018). Hutchinson reportedly used this service to

track a local judge, multiple highway patrol officers, and his predecessor

as sheriff, among others. See, et., Order W 14, 89 (JA5l, 77).

      Securus was supposedly authorized to use Verizon customer
location data to operate "an inmate collect-calling service," Order 1 43

(JA62)-that is, "to confirm that recipients of collect calls from inmates

were not within a certain distance of a prison," Resp. to NAL at 3 (JAl59) .2

This was touted "as a security measure to help prevent call recipients
from doing such things as aiding breakout attempts or making illicit
drops to inmates," and was supposed to be allowed only "after obtaining

affirmative customer consent." Ibid. But the New York Times article

2
    Verizon "claims that it only approved applications for one of six
    specific types of Use Cases." Order 11 10 (JA49). It is not apparent
    which of the six listed use cases the inmate collect-calling service
    would fall under. See ibid.

                                       12
                Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 23 of 91




(and a parallel federal criminal proceeding) revealed that Securus
"offered a location-finding service to law enforcement and corrections
officials that allowed such officials to access customer mobile device
location without that device owner's knowledge or consent." Order 1 13
(JA50). That service simply required users to "input the telephone
number of the device they wanted to locate" and "upload a document
[and] check[] a box * * * certify[ing] the attached document is an official

document giving permission to look up the location o[f] this phone
number." Id. 1 14 (JA5 l) (internal quotation marks omitted). Upon
doing so, "the Securus LBS platform would immediately provide the
requested location information (regardless of the adequacy of the
uploaded document)." Ibid.; see, et., id. 1 61 n.204 (JA69) (Hutchinson
"'upload[ed] entirely irrelevant documents * * * in lieu of genuine legal

PI'OC€ss)Vl

      3.      The day after the New York Times article, Verizon terminated
access to customer location data for Securus and one other related
provider. Order 1 15 (JA5l). A month later, Verizon announced that it
"intended" to terminate the aggregators' contracts, but it did not actually

do so for many months after. Id. ii 16 (JA52). It did not stop providing
customer location data to most LBS providers until November 30, 2018,

                                          13
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 24 of 91




more than 200 days after the Times report. Ibid. And it allowed four
LBS providers and one of the aggregators to continue accessing customer

location data until March 30, 2019, which was 324 days after the Times

article. Id. 11 18 (JA52).

      While it continued operating the flawed LBS program, Verizon
began testing "a 'Direct Location Services' program as an alternative,
under which Verizon itself would obtain consent from its customers * * *

by sending its customer a text message and only sharing location
information with an LBS provider if the Verizon customer responded
affirmatively." Order 17 (JA52). Ultimately, however, Verizon decided

to instead "completely exit[] the location-based services business" rather

than continue with a Direct Location Services program. Id. ii 18 (JA52) .

      c. The Commission's Forfeiture Order
      1. Section 503(b) of the Communications Act provides two routes

by which the Commission may pursue a forfeiture. See AT&T Corp. U.
FCC, 323 F.3d 1081, 1083-84 (D.C. Cir. 2003).

      Under Section 503(b)(3), the Commission may initiate a formal
adjudication before an administrative law judge or the Commission itself,

and any resulting forfeiture is reviewable directly in a court of appeals.

47 U.S.C. § 503<b)(3> (citing 47 U.S.C. § 402(a>>.

                                       14
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 25 of 91




     Alternatively (and more typically), under Section 503(b)(4), the
Commission may "issue[] a notice of apparent liability" that "set[s] forth

the nature of the act or omission charged * * * and the facts upon which
such charge is based"; provide the alleged violator an opportunity to
respond in writing; and then, after considering all relevant information,
assess an appropriate forfeiture penalty. 47 U.S.C. § 503(b)(4); see 47

C.F.R. § l.80(g). Any forfeiture penalty assessed under this procedure
"shall be recoverable pursuant to section 504(a)," 47 U.S.C. § 503(b)(4);

see 47 C.F.R. § l.80(g)(5), which requires the government to bring "a civil

suit in the name of the United States" in federal district court and
provides that "any [such] suit * * * shall be a trial de novo," 47 U.S.C.

§ 504(a). The D.C. Circuit has held, however, that a carrier may elect to

waive its opportunity for trial by paying the forfeiture immediately and
may then petition for review in a court of appeals under 47 U.S.C.
§ 402(a). See AT&T Corp., 323 F.3d at 1083-85.

     2. The Commission here followed the second pathway.                On

February 28, 2020, the Commission issued a Notice of Apparent Liability

proposing a $48,318,750 penalty against Verizon for its apparent willful

and repeated violations of Section 222 and the Commission's
implementing rules by failing to protect its customers' CPNI. See Notice

                                       15
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 26 of 91




of Apparent Liability, In re Verizon Commc'ns, 35 FCC Rod. 1698 (2020)

(NAL), reprinted at JAll2-56. "In particular," the Commission alleged

that "for almost a year after Verizon became aware of Securus's
unapproved location-finding service-and thereby had notice that the
'consent records' it received through indirect arrangements with location-

based service providers were not reliable indicia of customer consent-
the Company's continued reliance on such attenuated consent
mechanisms and ineffective monitoring tools apparently did not meet" its

obligation to protect customer location data. Id. ii 40 (JAl26).
     The Notice of Apparent Liability tentatively found that Verizon
committed 65 continuing violations of the Act-one for each aggregator
or LBS provider that it provided access to its customers' location data
without effective safeguards. NAL W 86-87 (JAl40). For each violation,

the Commission proposed "a base forfeiture of $40,000 for the first day of

such a violation," beginning 30 days after the New York Times article put

Verizon on notice, "along with a $2,500 forfeiture for * * * each successive

day that the violation continued." Ibid. The Commission also proposed
a "substantial" 50% upward adjustment in light of the egregiousness of
Velrizon's conduct. Id. W 90-92 (JAl4l-42).


                                       16
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 27 of 91




     3.   After considering Verizon's responses to the Notice of Apparent

Liability and all evidence in the record, the Commission issued its
Forfeiture Order adopting the proposed forfeiture (apart from a slight
revision to the penalty amount). See JA45-90 (Order) .

     The Commission first determined that customers' location data
"falls squarely within" the statutory definition of CPNI. Order W 22-34

(JA53-58). Relying on plain meaning and ordinary tools of statutory
interpretation, the Commission reasoned that customer location data
"relates to the location of a telecommunications service-i.e., Verizon's
commercial mobile service." Id. W 23-28 (JA54-56). Likewise, "the
location information at issue was obtained by Verizon solely by virtue of

its customer-carrier relationship" because Verizon's customers provided

their location to Verizon to use the services they purchase from it, not for

some unrelated reason. Id. W 29-33 (JA56-58).

     The Commission next concluded that Verizon "violated section 222

of the Act and section 64.2010 of [the Commission's] rules by failing to

take reasonable measures to discover and protect against attempts to
gain unauthorized access to its customers' location information." Order

1 42 (JA6l); see id. W 46-58 (JA63-68). "[T]he record not only shows

that Verizon did not have reasonable protections in place prior to [the]

                                       17
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 28 of 91




2018 New York Times article detailing the Securus/Hutcheson breaches,

but also that Verizon failed to promptly address its demonstrably
inadequate CPNI safeguards after [the] Securus/Hutcheson disclosure."
Id. 'I 46 (JA63).    Verizon relied almost exclusively on contractual
arrangements to govern the use of location data, without any reliable
means to "assure that location-based service providers comply with
[their] contractual obligation to access location information only after
furnishing proper notice and receiving customer consent." Id. ii 48
(JA65). And even after the New York Times article revealed serious
abuses, "rather than promptly implementing reasonable safeguards,
Verizon continued to sell access to its customers' location information
under (for all intents and purposes) the same system that was exploited

by Securus and Hutchinson." Id. 11 52 (JA65-66).

     The Commission rejected Verizon's arguments that the forfeiture
procedures violated the Constitution.          Order 'w 90-100 (JA77-83).
Among other things, Velrizon's Seventh Amendment objection failed
because Verizon would be "entitled to a trial de novo in federal district

court before it [could] be required to pay the forfeiture," id. 1191 (JA78),

and because the forfeiture involves public rights rather than private
rights covered by the Seventh Amendment, id. W 97-98 (JA80-82).

                                       18
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 29 of 91




     The Commission ultimately found that 'Verizon is liable for a total

forfeiture of $46,901,250" for its violations, "a reduction of $1,417,500"

from the forfeiture proposed in the Notice of Apparent Liability. Order
  66 (JA70-71).     The Commission generally adopted the proposed
forfeiture calculation from the Notice of Apparent Liability, see NAL
W 86-87, 90-93 (JAl40-42), but reduced the amount based on new
information from Verizon that "two of the 65 entities cited in the NAL did

not actually participate in the program," Order W 85-86 (JA76) .
     4. Verizon did not wait for the government to bring a civil suit to

recover the forfeiture under Section 504(a), which would have provided it

the opportunity to pursue a de novo jury trial in district court. See 47
U.S.C. § 504(a). Instead, Verizon elected to forgo that opportunity and
paid the forfeiture penalty in order to preterit any trial and pursue
direct appellate review in this Court. See Pet'r Br. 7 (citing AT&T Corp.,
323 F.3d at 1083-85, and ABC, Inc. U. FCC, 404 F. App'x 530 (2d Cir.

2011) (unpublished summary order)) .
                       STANDARD OF REVIEW
     Under the Administrative Procedure Act, a court may overturn

agency action only if it is arbitrary, capricious, or otherwise contrary to

law. See 5 U.S.C. § 706(2). The APA "mandate[s] that judicial review of

                                      19
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 30 of 91




agency policymaking and faultfinding be deferential." Loper Bright
Enters. U. Raimondo, 603 U.S. 369, 392 (2024). "'An agency's factual

findings must be supported by substantial evidence,' which means 'such
relevant evidence as a reasonable mind might accept as adequate to
support a conclusion." Cablevision Sys. Corp. U. FCC, 570 F.3d 83, 91
<Qd Cir. 2009).

     The Court reviews constitutional issues de novo. Cablevision, 570
F.3d at 91. Courts also "must exercise their independent judgment in
deciding whether an agency has acted within its statutory authority."
Loper Bright, 603 U.S. at 412. "In exercising such judgment, though,"

courts may appropriately "seek aid from the interpretations of" the
implementing agency. Id. at 394; see also id. at 412-13.
                   SUMMARY OF THE ARGUMENT
     1.   The Commission properly concluded that the statutory
definition of "customer proprietary network information" includes the
customer location data at issue here. Section 222 of the Communications

Act expressly covers "location" information, and Verizon customers share

that information with Verizon solely because they must do so to use the
services they purchase from it, not for some unrelated reason. Verizon's
effort to restrict CPNI to only "call location information" is at odds with

                                       20
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 31 of 91




its own prior practice as well as with the statute itself, which defines
CPNI to include all "location" information while using the narrower
phrase "call location information" elsewhere.             Compare 47 U.S.C.

§ 222(h)(l)(A) with id. § 222<d)(4> and id. § 222(f)(1).

     11. The Commission's conclusion that Verizon failed to protect its

customers' location information is reasonable and well-supported by the

record. "[T]he record not only shows that Verizon did not have reasonable

protections in place prior to [the] 2018 New York Times article detailing
the Securus/Hutcheson breaches, but also that Verizon failed to promptly

address its demonstrably inadequate CPNI safeguards after [the]
Securus/Hutcheson disclosure." Order 1 46 (JA63); see id. W 46-58
(JA63-67).

     The Commission assessed a forfeiture penalty only for the period
after Verizon was put on notice by the New York Times article that its
protections were ineffective and that it was not meaningfully in control
of its customers' location information when providing access to outside
parties. The forfeiture is fully justified based on Verizon's failure to
promptly identify and address the vulnerabilities, or to stop sharing
customer location information until it could do so. The Commission
identified numerous steps that Verizon could have taken, but Verizon

                                       21
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 32 of 91




instead continued to put its customers' location data at risk by persisting

in selling access to that information for the better part of a year under
essentially the same system that was exploited by Securus and Hutcheson.

     As independent support for the forfeiture, Verizon's practices also

were inadequate even before the Securus disclosures came to light.
Verizon did not itself provide customer notice and obtain or verify
customer approval, but instead relied principally on an attenuated chain

of contractual arrangements directing aggregators and LBS providers to

do SO. This reliance on contractual provisions was not reasonable because

Verizon had no reliable means to assure that location-based service
providers complied with their contractual obligations and that the
customer data was not being misused. Indeed, the Commission warned
in the 2007 CPN] Order that a carrier does not satisfy its obligation to

protect CPNI simply by adopting "contractual safeguards" that purport
to assign the responsibility to others. Verizon likewise had no means to

verify whether its third-party auditor, Aegis, was doing its job, and the

perfunctory reviews performed by Aegis were incapable of detecting
certain abuses-as Verizon was warned in a 2017 internal report which

found that it was possible for LBS providers to falsify consent records and

obtain customer location data without the customers' consent.

                                      22
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 33 of 91




     The Commission's calculation of the forfeiture amount was likewise

appropriate. Consistent with the Communications Act and established

agency practice, the Commission found that Verizon committed 63
continuing violations of the Act-one for each entity to which Verizon
provided access to its customers' location data without effective
safeguards. Verizon points to nothing in the statute, the Commission's
rules, or past practice that compels a contrary approach.

     III. The Commission's forfeiture procedures did not deprive Verizon

of any Seventh Amendment jury-trial right because Verizon had the
opportunity to demand a de novo jury trial in a Section 504(a) enforcement

suit before the government could make it pay the forfeiture. Instead, it

waived that opportunity by electing to pay the penalty and seeking direct

review in this Court instead. In any event, the Seventh Amendment
provides no jury-trial right for claims that, like those here, involve public

rights, rather than private rights with a common-law analogue.
                                ARGUMENT
I.   THE COMM1SS10N PROPERLY CONCLUDED THAT CUSTOMER
     LOCAT10N DATA Is CPNI PRQTECTED By SECTIQN 222.
     The customer location data at issue here falls comfortably within

the statutory definition of CPNI. See Order W 22-34 (JA53-58). Section


                                       23
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 34 of 91




222(h)(l)(A) defines CPNI to include "information that relates to the
quantity, technical configuration, type, destination, location, and amount

of use of a telecommunications service subscribed to by any customer of

a telecommunications carrier" and that "is made available to the carrier
by the customer solely by virtue of the carrier-customer relationship." 47

U.S.C. § 222(h)(l)(A) (emphasis added). Both prongs are satisfied here:

the statute specifically protects "location" information, and customers
share their location with Verizon solely to use the services they purchase

from it, not for some unrelated reason.
     A.    The Location Data Is "Information That Relates To
           The * * * Location" OfA Telecommunications Service.
     To start, the customer location data at issue is "information that
relates to the * * * location * * * of a telecommunications service," 47
U.S.C. § 222(h)(l)(A)-here, "Verizon's commercial mobile service.           77




Order 1 23 (JA54). A wireless carrier '"must be aware of and use [a]

device's location in order for it to enable customers to send and receive
calls," and "Verizon does not dispute * * * that customers' devices and
Verizon's network regularly exchange information" to "ensure] that they

can receive incoming calls and place outgoing calls." Id. W 23, 26 (JA54-

55). This is true "'1rega1rdless of whether the device is actively in use for


                                       24
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 35 of 91




a can"' or merely idle, since the device must continuously maintain a
connection to the calrlrier's network for any incoming call to be received.

Id. 'I 23 <JA54).

      Verizon's relabeling of this data as "device-location information"
(Br. 28, 33) is therefore a misnomer. A carrier knows a device's location

only when it is in service (whether engaged in a call or not), not when the

device is powered off or wireless service is disabled. The data is more
precisely described as "information that relates to the * * * location"
where the customer is receiving "telecommunications service," 47 U.S.C.

§ 222(h)(l)(A); it does not contain information on where a device might

be located when the customer is not receiving service.

      Verizon now contends (Br. 33-36) that "information that relates to
the * * * location * * * of a telecommunications service" in Section
222(h)(l)(A) should be read to mean only "call location information"-i.e. ,

information identifying where a particular call was made or received.
That position is at odds with Verizon's own prior practice, in which it
admittedly "treated both call location information and non-call location
information in the same way for consent purposes and maintained the
same protections for both in connection with" its location-based services

programs. Resp. to Supp. Letter of Inquiry at 7 (JAl4).

                                       25
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 36 of 91




     The Court should reject Verizon's effort to rewrite the statute. By
its plain terms, Section 222 covers any "information that relates to
the * * * location * * * of a telecommunications service," 47 U.S.C.
§ 222(h)(l)(A), not just information that relates to the location of a call.
See Order 1 28 (JA56) ("A11 location information is protected as CPNI

under [Section 222](h)(l)(A)."). It is undisputed that a wireless phone
must continuously share its location with a carrier to enable it to receive

incoming calls-a key part of the telecommunications service Verizon
offers-even when not engaged in a call. Id. W 23-26 (JA54-55). Section

222(h)(l)(A)'s use of the phrase "information that relates to * * * location"

reinforces that it must be construed broadly, because "as the Supreme
Court has recognized, Congress's use of the phrase 'relating to' in federal

legislation generally signals its expansive intent." Mizrahi U. Gonzales,
492 F.3d 156, 159 (Qd Cir. 2007).

     What is more, Section 222(h)(l)(A)'s unadorned use of the bare term

"location" contrasts with use of the narrower phrase "call location"
elsewhere in Section 222. Compare 47 U.S.C. § 222(h)(l)(A) with id.
§ 222(d)(4) (addressing "call location information") and id. § 222(fl(1)
(same). '"[W]here Congress includes particular language in one section
of a statute but omits it in another section of the same Act, it is generally

                                       26
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 37 of 91




presumed that Congress acts intentionally and purposely in the
disparate inclusion or exclusion,"' Russello U. United States, 464 U.S. 16,
23 (1983), and the "negative implications raised by disparate provisions
are   strongest when the [provisions] were being considered
simultaneously," Lind/1 U. Murphy, 521 U.S. 320, 330 (1997); see also
Crescent U. City of New York, 939 F.3d 511, 515 (2d Cir. 2019) ("[T]h€

striking differences in the wording of the two clauses actually plrove[s]
* * * that a textually sound interpretation * * * must assign a different


meaning to each clause."); Antonin Scalier & Bryan A. Garner, Reading

Law: The Interpretation of Legal Texts § 25, at 170 (2012) ("[A] material

variation in terms suggests a variation in meaning."). Had Congress
wished to limit protection to call location information, as Verizon now
contends, it could have used a term like "call location" in Section
222(h)(l)(A)-as it did elsewhere in the statute-instead of affording
protection more broadly to all "information that relates to the * * *
location" of service.
      Contrary to Verizon's arguments (Br. 34-35), there is nothing
"nonsensical" about permitting carriers to disclose call-location
information to first responders without first securing consent "in order to

respond to the user's call for emergency services," 47 U.S.C.
                                       27
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 38 of 91




§ 222(d)(4)(A), yet requiring customer approval to disclose broader
location data. Congress reasonably may presume that a user who calls
an emergency-services number will want and expect to share the location

they are currently calling from, yet may be more reluctant to give law
enforcement and other authorities carte blanc/te access to all of the user's
location information that may have nothing to do with a present
emergency. Nor is Verizon correct to suggest (Br. 35) that it is irrational
for Congress to require heightened consent for the use or disclosure of
call-location information, 47 U.S.C. § 222(f)(l), but not necessarily for
other forms of location information under Section 222(c)(l). Data that
shows where a user was located when making particular calls may reveal

information that even a broader set of location data alone (without
linking locations to calls) does not. In any event, given the Commission's

regulations generally requiring opt-in approval for use or disclosure of
CPNI, there is in practice no meaningful difference in the form of consent

that applies for different types of location information.3

3   Amicus CTIA-but not Verizon-focuses on the words "of use" to
    argue that a customer must be actively engaged in making a call for
    their location to constitute CPNI. See CTIA Br. 10-15. The statutory
    phrase "of use," however, modifies the immediately preceding word
    "amount," not the entire preceding list. See Order 1124 (JA54);
                                                                        (cont'd)

                                       28
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 39 of 91




     B.    The Location Data Was "Made Available To The
           Carrier 9: 9: * Solely By Virtue Of The Carrier-
           Customer Relationship."
     The location data here is likewise information that was "made
available to the carrier"-that is, to Verizon-"by the customer solely by
virtue of the carrier-customer relationship." 47 U.S.C. § 222(h)(l)(A). As

the Commission explained, '"Verizon's customers provided their wireless

location data to Verizon because of their customer-carrier relationship
with Velrizon,"' Order 1 29 (JA56), since the wireless phone service they

purchased from Verizon requires this information to operate, id. W 23,
26, 31 (JA54, 55, 57).

     The carrier-customer relationship is the "sole[]" reason that
customers provide this information to Verizon. Customers share their
location with Verizon solely to use the services they purchase from it, not


   Lockhart U. United States, 577 U.S. 347, 351 (2016) ("a limiting clause
   or phrase * * * should ordinarily be read as modifying only the noun
   or phrase that it immediately follows"). Indeed, it would make little
   sense to read Section 222(h)(l)(A) to refer to the "technical
   configuration * * * of use." And even if "of use" did modify the word
   "location," it would not alter it to mean "call location." "When
   customers' devices are exchanging communications with Verizon's
   network, and thereby ensuring that they can receive incoming calls
   and place outgoing calls, * * * that is a clear case of using the service
   to which they have subscribed, even outside the moments in time
   when they are engaged in calls." Order 1126 (JA55).

                                      29
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 40 of 91




for some unrelated reason. If they were not Verizon customers, they
would not share their location with Verizon.4

      Verizon contends (Br. 29-32) that it did not obtain customer
location data "solely by virtue of the carrier-customer relationship"
because most of the customers who provided their location by using
wireless telephone service, which is a "telecommunications service"
covered by Section 222(c)(l), also provided the same location information

to use text messaging or wireless internet service, which are classified as

"information services" rather than "telecommunications services." That
argument fails because the "solely by virtue of" language does not ask
whether the carrier obtained the CPNI solely through its
telecommunications service; instead, by its terms, it asks whether the


4
    Verizon is wrong (Br. 31) that the Commission's approach "reads that
    phrase out of the statute." The "solely by virtue of the carrier-
    customer relationship" language in Section 222(h)(l)(A) distinguishes
    customer information obtained through the carrier's provision of
    service to a customer from information obtained through some
    unrelated means. For instance, if Verizon's website invited
    prospective customers to submit their names and home addresses to
    obtain more information about services available at their locations, it
    would obtain those addresses independent of any carrier-customer
    relationship. Use of these addresses collected prior to or outside of
    any carrier-customer relationship would not be covered by the
    Commission's CPNI rules, whereas use of any information obtained
    solely through a carrier-customer relationship would be.

                                       30
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 41 of 91




carrier obtained the CPNI through "the carrier-customer relationship."
47 U.S.C. § 222(h)(l)(A) (emphasis added).

     That "carrier-customer relationship" may encompass multiple
services, including information services.           See Order 1] 32 (JA57)

(reasoning that a calrlrier's "provision of multiple services to its
telecommunications customers (including [information] se1rvice[s])" does

not "take[] the resulting relationship outside the scope of the 'carrier-
customer' relationship"). If a carrier like Verizon leverages the wireless
telephone service that it provides a customer to sell that customer
additional services as part of a package, all of those services are
reasonably encompassed within the carrier-customer relationship.
Indeed, the Commission's CPNI rules specifically recognize that the
"communications-related services" provided by carriers include
"information    services    * * *   that     are    typically    provided   by
telecommunications providers, such as Internet access or voice mail
services." 47 C.F.R. § 64.2003(e) & (i).

     The statute's focus on the "carrier-customer relationship" as a
whole makes sense, whereas Verizon's contrary approach would all but
eviscerate Section 222's protections. The duty to protect CPNI attaches



                                      31
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 42 of 91




under Section 222 when a customer's purchase of telecommunications
service provides the carrier with protected information. Under Verizon's

reading, however, carriers could then negate that obligation simply
by bundling additional information services like text messaging with
their wireless telephone service (as virtually all wireless carriers now do) .

It is not plausible that Congress intended for wireless carriers to be able
to nullify the protections of Section 222 by simply bundling non-
telecommunications services together with their telecommunications
services.

     Searching for support outside of Section 222, Verizon cites (Br. 29-

30) the Act's definition of "telecommunications carrier," which states that

"[a] telecommunications carrier shall be treated as a common carrier
under [this Act] only to the extent that it is engaged in providing
telecommunications service," 47 U.S.C. § l53(5l), to argue that "carrier-

customer relationship" encompasses only its telecommunications
services and not its information services. But the terms "carrier" and
"customer" are used in Section 222(h)(l)(A) simply to identify the
relevant parties via their relationship to one another-in the phrase
"made available by the customer to the carrier" and in the phrase


                                       32
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 43 of 91




"carrier-customer relationship"-rather than to distinguish among
different services encompassed within that relationship.                It is
unreasonable to think that Congress would try to draw the distinction
Verizon seeks in such an obscure and elliptical manner, especially given

the unnatural consequence it would have of effectively negating wireless

carriers' responsibility to protect CPNI if they bundle their wireless
telephone service with text messaging or wireless internet service.
11.    THE COMM1SS10N'S FQRFEITURE DETERMINATION Is
       REASONABLE AND SUPPORTED By THE RECORD.
       Courts review the Commission's forfeiture determinations under
the traditional arbitrary-and-capricious standard. Grid Radio U. FCC,
278 F.3d 1314, 1322 (D.c. Cir. 2002).              Under that "narrow and
particularly deferential" standard, the Court asks whether the agency
has offered "a reasoned connection between the facts it found and the
choice it made" and will "reverse the agency only when there has been a

'clear error in judgment." Erwtl. Def. Fund U. U.S. EPA, 369 F.3d 193,
201 (2d Cir. 2004); see also Grid Radio, 278 F.3d at 1322 ("As in any
arbitrary-and-capricious challenge, we 'presume the validity' of the
agency's action"'). The Commission's forfeiture order easily clears that
bar.


                                       33
                Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 44 of 91




      A.       The Commission Reasonably Found That Verizon
               Failed To Protect Customer Location Data.
       The Commission reasonably concluded that "Verizon violated
section 222 of the Act and section 64.2010 of [the Commission's] rules by

failing to take reasonable measures to discover and protect against
attempts to gain unauthorized access to its customers' location
information." Order ii 42 (JA6l). As the Commission explained, the
record shows that "Verizon failed to promptly address its demonstrably
inadequate CPNI safeguards after [the] Securus/ Hutchinson disclosure"

was revealed by the New York Times in May 2018, and that it separately
"did not have reasonable protections in place prior to [the] 2018 New York

Times article." Order 1 46 (JA63).

       1. The Commission imposed a forfeiture penalty only for the

period after Verizon was put on notice by the New York Times article that
Securus and Hutchinson were able to obtain unauthorized access to its
customers' location data (and only after an additional 30-day grace period

to take appropriate action). See Order W 66, 81 (JA70-'71, 75); NAL

W 86-87 & tbl.l (JAl40-4l); see also NAL 1 74 (JAI35) ("[W]e focus on

the actions that Verizon took, or failed to take, after discovery of that
blreach.") .



                                          34
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 45 of 91




     Verizon points (Br. 36-37) to various protections it supposedly had

in place, but it ignores that the Securus disclosures "revealed fundamental

shortcomings in Velrizon's safeguards," Order 1 53 (JA66), and put

Verizon on notice that it was not meaningfully in control of its customers'

location information when providing access to outside parties. See NAL

1 74 (JAl35) ("Setting aside the inadequacy of Velrizon's safeguards
before disclosure of the Securus and Hutcheson breaches, Verizon was on

clear notice that its safeguards were inadequate after the disclosulre").

"Continu[ing] to sell access to its customers' location information under

(for all intents and purposes) the same system that was exploited by
Securus and Hutchinson" was not reasonable when Verizon was on notice

that its existing measures failed to prevent unauthorized access to and
disclosure of protected information. Order 11 52 (JA65-66) .

     The Commission identified "numerous steps that could have been

taken to squarely address the proven vulnerability, up to and including

deploying enhanced measures to verify consumer consent (even directly

verifying consumer consent) and shutting down the LBS program."
Order 1 57 (JA67).      But "[1r]athelr than taking reasonable steps to
safeguard its customers' location information after the Securus/
Hutchinson disclosures were reported, Verizon placed its customers'

                                      35
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 46 of 91




location information at continuing risk of unauthorized access through

its failure to terminate its program or impose reasonable safeguards to

protect its customers' location information." Id. 11 65 (JA70).

     Verizon states that it "immediately cut off access to * * * Securus"

and "ceased taking new applications to join the program" (Br. 38), but

"those actions did not improve the safeguards for consumers whose
location information could be disclosed under the location data sharing

arrangements that remained in place." Order ii 55 (JA66). Verizon did

not even "suspend the access of LocationSmart, the Aggregator that had

the contractual obligations to monitor Securus." NAL 11 75 (JAI35). Nor

is there any indication that Verizon acted "to promptly ascertain the full

scope and extent of the Securus breach" or "to determine whether the
Securus incident was an isolated occurrence, or whether it was indicative

of a broader vulnerability with Verizon's program."               Id. 'w 76-77
(JAI36). Verizon states that it "had Aegis strengthen the transaction
verification process to identify any anomalies in the data" (Br. 38), but
the Commission found no "reason to believe that those particular
measures were likely to have identified the problem that enabled the
Securus and Hutchinson breaches" or "remedied those shortcomings."
Order 11 55 (JA65). And in any event, improving detection of improper

                                      36
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 47 of 91




disclosures after they occur does not remedy those disclosures and is no

substitute for preventing improper disclosures from occurring in the first

place.

     As it did before the Commission, Verizon argues (Br. 22, 40 n.l6)

that it was justified in continuing to operate a flawed program for the
better part of a year by pointing to the purported benefits that location-

based services provide to customers. In essence, Verizon argues that

these benefits outweigh the risk of harm. But Section 222 mandates that

carriers "protect the confidentiality of proprietary information of * * *

customers" in all circumstances and forbids unlawful use or disclosure of

CPNI "[e]xcept * * * with the approval of the customer," irrespective of

any purported benefits of doing otherwise. 47 U.S.C. § 222(a) & (c)(l).

And "these purported benefits simply assume that customers had in fact

consented for such uses-a premise Verizon should not have relied on
given its own findings" that LBS providers could falsify the consent
records. NAL 1 81 (JAl38); see Order 1 12 (JA50) (discussing an internal

report finding that "it is possible for [LBS] program companies * * * to

falsify consent records and obtain [Verizon] subscriber data without their

consent"); id. 1 43 (JA62) (none of the location requests made through



                                      37
              Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 48 of 91




Securus "evinced a customer's actual opt-in consent"). Under Section
222, "[i]f Verizon could not reasonably safeguard the customer location

information that it sold access to, then it should have ceased to sell access

to that information." NAL 11 79 (JAl37).

     Verizon's insistence that it lacked fair notice of the need to act (Br.

40-41) is baseless. The fair-notice doctrine "provides redress only if an
agency's interpretation is so far from a reasonable person's
understanding of the [law] that they could not have fairly informed the
regulated party of the agency's perspective." Order 1 37 (JA59) (quoting
Miss. Comm'n on Erwtl. Quality U. EPA, 790 F.3d 138, 186 (D.C. Cir.

2015)); see, et., United States U. Gasperini, 894 F.3d 482, 487 (2d Cir.

2018). Here, a reasonable person who had actual notice that the existing

protections for using or accessing CPNI under Section 222 were
ineffective would have little trouble realizing that they must promptly
identify and fix the vulnerabilities, or else stop using or sharing this
information until they can do SO. That is especially so for Verizon, a
"sophisticated" actor well versed in the statute and the Commission's
regulatory policies. Cf. United States U. Chestman, 947 F.2d 551, 564 (2d

Cir. 1991).



                                        38
              Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 49 of 91




     2.   As an alternative and independent justification for the
forfeiture, Verizon's practices also were inadequate even before the
Securus disclosures came to light. See Order 1 48 (JA64); NAL W 60-73
(JAl3l-35).
     Verizon did not provide customer notice and obtain or verify
customer approval itself. Instead, it relied on an attenuated chain of
contractual requirements that aggregators and LBS providers supply
notice and obtain customer consent to use location data, that these
entities do so only for preapproved use cases, and that they otherwise
adhere to applicable laws and industry best practices. Order 1 9 (JA48-
49). "Verizon entered into contracts with the Aggregators," and "the
Aggregators [in turn] entered into their own contracts with various LBS
providers." Id. (JA48). "This arrangement meant that it was typically
the LBS providers who were obligated 'to provide notice and obtain
consent' from consumers-not the Aggregators or Verizon." Id. (JA49),
see NAL 1169 (JAI34) ("In other words, these contractual requirements
were largely passed down to the entities responsible for obtaining consent

and that used the location information * * * through an attenuated chain

of downstream contracts.").



                                        39
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 50 of 91




     This reliance on contractual safeguards "w[as] not reasonable"
because Verizon had no reliable means to "assure that location-based
service providers comply with [their] contractual obligation to access
location information only after furnishing proper notice and receiving
customer consent." Order 1 48 (JA64); of. NAL 1] 69 (JAI34) ("To enforce
the requirements, Verizon would have needed to take steps to determine

whether they were actually being followed.").                 The Commission
specifically cautioned in the 2007 CPN] Order that a carrier does not
satisfy its obligation to protect CPNI simply by adopting "contractual
safeguards" that purport to assign its responsibility to others. 2007 CPN]

Order, 22 FCC Red. at 6952-53 1 49. Indeed, the Communications Act

specifically provides that the "failure of any officer, agent, or other person

acting for or employed by any common carrier * * * shall in every case be

also deemed to be the act, omission, or failure of such carrier." 47 U.S.C.

§ 217. And the Commission has likewise warned that "a carrier that
practices willful blindness" regarding the protection of CPNI likely
"would not be able to demonstrate that it has taken sufficient measures"
to comply with Section 222 and the Commission's rules. 2007 CPN]
Order, 22 FCC Rod. at 6946 1 35.



                                       40
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 51 of 91




     Verizon also maintains (Br. 17-18, 36) that it contracted with a
third-party auditor, Aegis, to "review * * * consent records" and "otherwise

monitor" the program.        As with its other contractual agreements,
however, Verizon had no means to verify whether Aegis was doing its job .

Cf. Order 1 64 (JA70). And Aegis's "review" of consent records consisted

essentially of comparing the list of "location requests" provided by an LBS

provider with the list of purported "consent records" also provided by the

LBS provider-a system that "assumed that the location requests and

consent records provided by the [providers] would be legitimate in the
first instance," and could not detect if an LBS provider simply fabricated

the consent records. NAL 1 67 (JAI33). Indeed, an internal report
Verizon produced in 2017 specifically warned that "it is possible for [LBS]

program companies * * * to falsify consent records and obtain [Verizon]
subscriber data without their consent." Order ii 12 (JA50). Likewise,
Aegis "was unable to distinguish location requests unrelated to [an]
authorized use case," and Securus's location requests for unauthorized
uses "did not trigger any review by Aegis." Id. ii 43 (JA62). Aegis's
perfunctory "audits" were thus incapable of detecting that "Securus was

able to set up a separate program to access and disclose customer location

information and operate it for at least four years in a manner inconsistent

                                       41
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 52 of 91




with its contract." NAL 1163 (JAl32). "A system allegedly designed to

monitor customer consents but that is incapable of detecting its opposite

is not a 'reasonable measure' to detect unauthorized uses of or access to
CPNI." Order 11 48 (JA64) (quoting NAL 11 70 (JAl34)).

     Instead of contractually passing the buck for protecting CPNI to
others, Verizon could have provided the required notice and verified
consent itself, as demonstrated by the "Direct Location Services" program

it later tested in 2018. NAL 11 78 (JAI37). Under that program, third-

party providers "could access Verizon customer location information upon

consent for specific use cases, but Verizon itself obtained consent from its

customers" by "sending its customer a text message seeking affirmative

consent to share the customer's location information." Id. 1] 33 (JAl24-
25). This would have allowed Verizon to ensure proper notice and

customer approval, and to verify location requests against its own records

rather than provider-supplied records that could be falsified.

     3.   Verizon seeks to downplay its lapses (Br. 41) as supposedly
affecting only "a handful of customers through one participating service

provider that slipped through Verizon's safeguards." Yet because Verizon

was "incapable of detecting" providers who used or disclosed customer

location data unlawfully, the full extent to which the program was

                                       42
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 53 of 91




exploited may never be known. Order W 48, 58 (JA64, 68) (quoting NAL

11 70 (JAl34)); of. Order 11 49 (JA65) ("reject[ing]" the "theory that the

reasonableness of those measures can be inferred from the fact that even

more unauthorized disclosures have not been publicly identified"). And

Section 222 imposes upon carriers an affirmative duty to employ adequate

safeguards to protect their customers' data; violations are not limited to

situations involving a known misappropriation of customer data.

     Verizon fails to grapple with the Commission's undisputed factual

findings about the harm to consumers. Verizon was selling access to the

location data of millions of its customers without any meaningful way of

verifying that those customers consented to such access, or that its
downstream contractual partners were not abusing the system. The risk

posed by this scheme "was not merely theoretical." NAL 1] 91 (JAl42). It

was actually exploited-by Hutchinson to '"submit[] thousands of Securus

LBS requests and [to] obtain[] the location data of hundreds of individual

phone subsclribers,"' Order 1] 14 (JA5l), and more broadly by "Seculrus's

entire location-finding service * * * every time Securus submitted a
request for location information under the guise of its approved use case

(a use case that required consumer consent) and Verizon provided the
requested location information" without consent and for a different use

                                      43
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 54 of 91




case, id. ii 43 (JA6l-62). And Verizon did nothing to ensure that the
same exploits were not possible across other location-based service
providers to which it gave access.
     "Rather than taking reasonable steps to safeguard its customers'
location information after the Securus/Hutcheson disclosures were
reported," moreover, 'Verizon placed its customers' location information

at continuing risk of unauthorized access through its failure to terminate

its program or impose reasonable safeguards." Order 1 65 (JA70). And
the Commission found that Velrizon's "failure to adequately protect CPNI

for a protracted amount of time caused substantial harm by making it
possible for malicious persons to identify the exact locations of Verizon

subscribers who belong to law enforcement, military, government, or
other highly sensitive positions-thereby threatening national security
and public safety." Order ii 89 (JA77) (internal quotation marks omitted) .
     B.    The Commission Reasonably Found That Verizon
           Committed 63 Continuing Violations By Continuing
           To Share Location Data With 63 Separate Entities.
     The Commission reasonably found that Verizon "engaged in [63]
continuing violations-one for each ongoing relationship with a third-
party LBS provider or aggregator that had access to Verizon customer
location information more than 30 days after publication of the New York

                                      44
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 55 of 91




Times report-and that each violation continued until Verizon

terminated the corresponding entity's access to customer location
information." Order 1 66 (JA7l); see NAL W 86-87 (JAl40). Given the
base forfeiture amount and the upward adjustment for Verizon's
"egregious" conduct, Order 11 89 (JA76-77), this resulted in a total
forfeiture penalty of $46,901,250 That conclusion reflects no "clear error

of judgment," Erwtl. Def. Fund, 369 F.3d at 201, and "the scale of the fine
imposed" readily satisfies arbitrary-and-capricious review, see SBC
Commc'ns Inc. U. FCC, 373 F.3d 140, 151 (D.C. Cir. 2004).

     Verizon maintains (Br. 42) that its provision of access to 63 separate

entities without proper protections, each of which separately contract for

that access (either with Verizon or with an aggregator), was "a single act

or failure to act" rather than 63 separate violations. Yet Verizon points
to nothing in the statute or the Commission's rules that compels its
approach. Order 1 78 (JA74).

     Consistent with established practice, the Commission treats
systemic privacy failings as "significantly more than a single violation."
Order 1 78 (JA74) (citing In re TerraCom, Inc., 29 FCC Red. 13325, 13343

11 50 (2014)). The unit of analysis depends on the nature of the conduct

that violated the law. For example, in TerraCom, because the penalized

                                      45
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 56 of 91




parties had unreasonably exposed customers' documents by storing them

on publicly accessible servers, each separate document was a distinct
violation. See id.
      Considering the specific conduct here, the Commission "reasonably

exercised its authority to find that each unique relationship between
Verizon and an LBS provider or aggregator represented a distinct failure

to reasonably protect customer CPNI," because "[e]ach such relationship

relied upon a distinct and unique contractual chain," and "specific,
individually-approved 'Use Case[s]' * * * had been reviewed and
authorized by Verizon." Order ii 79 (JA74). In other words, each time

Verizon agreed to share customer data with another third party without

ensuring adequate safeguards for that data, it violated Section 222.
Because Verizon treated each third-party provider in its LBS program

separately through distinct contractual relationships and individual use-
case approvals, it was reasonable for the Commission to do so as well in

calculating Velrizon's liability.
      A contrary method would make little sense. Under Velrizon's
proposed approach, carriers would be free to maintain that they had a
single "systemic" unreasonable practice that they simply applied in
numerous instances, as Verizon protests here (Br. 42-43). In such cases,

                                       46
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 57 of 91




a carrier that commits a "systemic failure to protect customer
information," Order 11 78 (JA74), would be insulated from anything more

than a single capped penalty-which, even at the statutory maximum,
would be insignificant in view of Verizon's $134 billion in annual
operating revenues. See Verizon Commc'ns, Inc., Form l0-K (Feb. 9,

2024).5 Congress, which directed the Commission to take into account a

violator's "ability to pay" in calculating the forfeiture amount, 47 U.S.C.

§ 503(b)(2)(E), could not have required such an ineffectual result.

111. THE C0MM1ss1on's FQRFEITURE PRQCEDURES DID NOT
     VIOLATE THE SEVENTH AMENDMENT.
      Verizon lastly contends (Br. 44-52) that the Commission's
forfeiture procedures violated the Seventh Amendment, which provides
in relevant part that "[i]n Suits at common law, where the value in
controversy shall exceed twenty dollars, the right of trial by jury shall be

preserved." U.S. Const. Amend. VII. That argument fails for two
independent reasons. First, Verizon had the opportunity to demand a de
novo jury trial in an enforcement suit under Section 504(a) before the
government could make it pay the forfeiture, but it waived that


5   Available at     https://www.sec.gov/Archives/edgar/data/732712/
    000073271224000010/vz-20231231.htm.

                                       47
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 58 of 91




opportunity by electing to pay the penalty and seeking direct review in
this Court instead. And second, the Seventh Amendment provides no
jury trial right for claims that, like those here, involve public rights
rather than private rights with a common-law analogue.
     A.    The Seventh Amendment Is Not Implicated Because
           Verizon Had (But Chose To Forgo) The Opportunity
           For A Jury Trial.
     Verizon's Seventh Amendment challenge rests on the faulty
premise that it was denied the opportunity for a jury trial. That is not
SO. When the Commission imposes a forfeiture under Section 503(b)(4),

after issuing a Notice of Apparent Liability and providing opportunity to

respond in writing, the Act directs that the forfeiture penalty "shall be
recoverable pursuant to Section 504(a)." 47 U.S.C. § 503(b)(4). And
Section 504(a) requires the government to enforce any forfeiture by
bringing a civil suit in district court and provides that "any suit for the
recovery of a forfeiture imposed * * * shall be a trial de novo." Id.
§ 504(a); see Order 1 91 (JA78).

     Verizon therefore could have declined to pay the forfeiture and
pursued the opportunity for a de novo jury trial in district court under
Section 504(a), as it eventually concedes (Br. 48-49). "Velrizon's claim
that a forfeiture order issued under section 503(b) of the Act does not

                                      48
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 59 of 91




provide it * * * a trial by jury[] ignores Verizon's statutory right to a trial

de novo before it can be required to pay the forfeiture." Order 1 91 (JA78) ;

accord id. 1 98 (JA8 l) ("Verizon does, in fact, have the right of a trial de

novo under Section 504 of the Act here."). Instead, however, Verizon
elected to preterit any Section 504(a) enforcement action-and thereby
to forgo its opportunity to seek a jury trial-to instead pursue direct
review in this Court. Given that choice, the Seventh Amendment injury

Verizon asserts-its lack of a jury trial-is entirely self-inflicted.6
      Verizon complains (Br. 51) that it might have to wait up to five
years for the government to bring an enforcement action, and that it
might experience "reputational harm" or other difficulties in the
meantime. It is not evident what that has to do with the Seventh


6
    Verizon thus misreads (Br. 44) Justice Sotomayor's dissent in SEC U.
    Jamesy, 603 U.S. 109 (2024). Justice Sotomayor warned that the
    Court's decision might jeopardize FCC forfeitures assessed through a
    formal adjudication under Section 503(b)(3), which provides for direct
    appellate review of the agency's findings without a trial. See id. at
    200 (Sotomayor, J., dissenting). But the forfeiture here was instead
    assessed under Section 503(b)(4), which requires the government to
    pursue any forfeiture penalty through a Section 504(a) enforcement
    proceeding, which in turn provides for a "trial de novo" before the
    government can recover the penalty. 47 U.S.C. §§ 503(b)(4), 504(a);
    of. Jamesy, 603 U.S at 200 (Sotomayor, J., dissenting) (observing that
    Jamesy's impact on agencies that "can pursue civil penalties in both
    administrative proceedings and federal court" is more limited) .

                                       49
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 60 of 91




Amendment, which requires a jury trial only upon an effort to collect
payment of monetary damages; if the government has not yet sought to
compel payment, there is no Seventh Amendment injury, and claims of
reputational harm or other injury apart from monetary damages do not
trigger the Seventh Amendment. Indeed, absent any monetary penalty,
reputational harm alone generally does not give rise to a constitutional
injury. See Paul U. Davis, 424 U.S. 693, 701, 711 (1976); Rudolf U. City
of New York, 822 F.2d 324, 330 (2d Cir. 1987).7

      Any reputational harm, moreover, stems from the underlying facts
showing that Verizon allowed improper access to customers' location data

without their consent-facts that are essentially undisputed8-not from


7
    To the extent Verizon's complaints might separately implicate due
    process or some other constitutional matter, Verizon has waived any
    other constitutional claims by failing to raise them in its brief. See,
    e.g., JP Morgan Chase Bank U. Altos Hornos de Mex., S.A. de C.Vl, 412
    F.3d 418, 428 (2d Cir. 2005).
8   Insofar as the material facts here are undisputed, and the government
    may therefore be entitled to summary judgment, it is not evident that
    Verizon would actually be entitled to a jury trial in this case. See Ex
    parte Peterson, 253 U.S. 300, 310 (1920) ("No one is entitled in a civil
    case to trial by jury, unless and except so far as there are issues of fact
    to be determined."); Parklane Hosiery Co. U. Shore, 439 U.S. 322, 336
    (1979) (summary judgment does not violate the Seventh Amendment);
    United States U. Peninsula Commc'ns, Inc., 335 F. Supp. 2d 1013,
    1016-17 (D. Alaska 2004) (holding that summary judgment was
                                                         (cont'd)

                                       50
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 61 of 91




the Commission's decision to impose a forfeiture penalty or from any
delay in enforcing that penalty. In any event, that Verizon might need
to wait for the government to bring a Section 504(a) enforcement suit "in

no way renders [it] an inadequate forum" for Verizon to seek a jury trial,

and the D.C. Circuit has suggested that Verizon could pursue a
declaratory action if it were "suffering from demonstrably adverse
consequences from government delay in initiating the collection
proceeding." Pleasant Broad. Co. U. FCC, 564 F.2d 496, 502 (D.C. Cir.

1977). And if the government declined to pursue recovery of the forfeiture

penalty within the five-year statute of limitations, see 28 U.S.C. § 2462,
Verizon would be under no obligation to pay and would suffer no Seventh

Amendment injury.
     Verizon also contends (Br. 49-50) that the trial de novo provided by

Section 504(a) is "not the kind of jury trial that * * * the Seventh
Amendment requires" because some other courts have supposedly held
that the defendant would not be allowed to challenge the FCC's legal


   appropriate in a Section 504(a) enforcement action). Any purported
   Seventh Amendment violation would thus be harmless error. See 5
   U.S.C. § 706 (directing that "due account shall be taken of the rule of
   prejudicial error"); Overwell Harvest, Ltd. U. Trading Techs. Int'l, Inc. ,
   114 F.4th 852 (7th Cir. 2024) (holding Seventh Amendment error
   harmless after Jamesy).

                                      51
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 62 of 91




interpretations. Again, it is unclear what this has to do with the Seventh

Amendment, because the Seventh Amendment provides the right to have

a jury resolve only questions of fact-not legal questions. See, et., Belt.

& Carolina Line, Inc. U. Redman, 295 U.S. 654, 657 (1935) (the Seventh

Amendment "retain[s] the common-law distinction * * * whereby * * *

issues of law are to be resolved by the court and issues of fact are to be

determined by the jury"); of. Pet'lr Br. 50 (maintaining that "the key flaws

in the Forfeiture Order are legal," not factual). Verizon is wrong to
suggest (Br. 49-50) that any hypothetical disagreement over jury
instructions would amount to a Seventh Amendment violation; this
Court has upheld verdicts despite supposed errors in the jury
instructions.9If the jury returns a verdict despite an alleged error in the
instructions, that does not deprive a defendant of a jury trial; instead it

is a routine claim of legal error to be raised on appeal, subject to the
ordinary substantive and procedural rules governing appellate review.

      Moreover, Verizon's speculation that it might not be able to pursue

legal challenges to the forfeiture order in a Section 504(a) enforcement


9   See, e.g., Terminate Control Corp. U. Horowitz, 28 F.3d 1335, 1343-46
    (2d Cir. 1994); Galdieri-Ambrosini U. Nat'l Realty & Dev. Corp., 136
    F.3d 276, 285-86 (2d Cir. 1998).

                                       52
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 63 of 91




suit may not hold. Verizon admits (Br. 49 n. 19) that this Court has never

adopted such a limitation. And none of the out-of-circuit cases it cites are

on point. United States U. Dunifer, 219 F.3d 1004 (9th Cir. 2000), was an

action seeking to enjoin unlicensed radio transmissions in violation of 47

U.S.C. § 301, not an action to enforce a monetary forfeiture under Section

504(a). Similarly, United States U. Any &All Radio Station Transmission

Equipment, 207 F.3d 458 (8th Cir. 2000), was an action for in rem

forfeiture of radio equipment under 47 U.S.C. § 510, not an action to

enforce a forfeiture under Section 504(a). And United States U. Stevens,

691 F.3d 620 (5th Cir. 2012), held that the defendants there, who raised

only legal challenges and did not identify any factual disputes, could and

therefore should have raised those challenges by seeking direct review of

the forfeiture order under Section 402(a) rather than wait to raise them

in district court. Stevens thus would not necessarily apply when the

subject of the forfeiture plausibly raises factual issues, in addition to legal

challenges, of a kind that could not adequately be decided by a court alone

on direct review under Section 402(a). Cf. PDR Network, LLC U. Carlton

& Harris Chiropractic, Inc., 588 U.S. l, 7-8 (2019) (citing 5 U.S.C. § 703).




                                       53
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 64 of 91




     In all events, if Verizon believed that it was improperly limited from

raising any legal defenses in a Section 504(a) enforcement action, it
should have instead raised that challenge in the district court hearing
that action and sought to have the limitation set aside there. If Verizon

were right that the enforcement action unlawfully restricted its ability to

bring legal challenges, the proper remedy would be merely to eliminate

that unlawful restriction, not to invalidate the underlying forfeiture
order or to strike down the FCC's forfeiture authority entirely.

     B.    The Seventh Amendment Is Not Implicated Because
           This Case Involves Public Rights, Not Private Rights
           With A Common Law Analogue.
     Because the Seventh Amendment simply "preserve[s]" the right to

jury trial that applied "[i]n Suits at common law," U.S. Const. Amend.

VII, it is not implicated by Section 222, which has no common-law
analogue for which defendants were historically entitled to a jury trial.

Section 222 is instead an aspect of the public franchise conferred by the

government upon licensees of public spectrum and entities engaged in

common carriage, and therefore falls within the longstanding public-
rights exception.




                                      54
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 65 of 91




     1. The Supreme Court has construed the Seventh Amendment to

ensure the right to jury trial for claims that are "legal in nature" and
which bear a "close relationship" to a "common law 'ancestor."' SEC U.
Jamesy, 603 U.S. 109, 122-26 (2024). "To determine whether a suit is

legal in nature," courts must "consider the cause of action and the remedy

it provides." Id. at 122-23.
     Section 222 does not implicate the Seventh Amendment because it

does not bear a "close relationship" to any common law cause of action.
In Section 222(c)(l), Congress crafted a new and reticulated regulatory
scheme, unlike any known at common law, restricting how
telecommunications carriers "use, disclose, or permit                  access" to

"information that relates to the quantity, technical configuration, type,
destination, location, and amount of use of a telecommunications
service." 47 U.S.C. § 222(c)(l) & (h)(l)(A). This provision does not
prescribe or proscribe "the same basic conduct" as any common law claim,

nor does it borrow "common law terms of art" or "incorporate[]
prohibitions from common law" into the Communications Act.                    of.
Jamesy, 603 U.S. at 125. On the contrary, Section 222(c)(l) prescribes

new obligations concerning a novel subject matter for a limited set of
highly regulated entities. It is not "made of the stuff of the traditional

                                      55
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 66 of 91




actions at common law tried by the courts at Westminster in 1789." Id.

at 128 (internal quotation marks omitted).

     Velrizon's efforts to analogize Section 222 to various common-law
torts (Br. 45-47) miss the mark. Section 222 is not a "common-law
negligence claim" (Br. 46). A common-law tort claim requires duty,
breach, causation, and damages. Et., Integrated Waste Servs., Inc. U.
Akio Nobel Salt, Inc., 113 F.3d 296, 299 (2d Cir. 1997). Section 222 is

very different:

         Verizon identifies no common-law duty to protect the category

         of technical network information covered by Section 222(c)(l)-

         that is, "information that relates to the quantity, technical
         configuration, type, destination, location, and amount of use of

         a telecommunications service," 47 U.S.C. § 222(h)(l)(A). The

         technical information in this case happens to be location data,

         which Verizon suggests might possibly be covered by an
         invasion-of-privacy or intrusion-upon-seclusion claim (Br. 46),

         but the potential for overlap in some particular instances
         hardly makes these different kinds of duties close analogues.

         (And, as noted below, those intentional privacy torts are
         fundamentally different from negligence claims.)

                                      56
   Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 67 of 91




Unlike a tort claim, Section 222 requires no showing of damages

or causation. The Communications Act requires carriers to
implement measures to protect CPNI and makes carriers liable

for a failure to do so even if there is no known misappropriation

of customer information before the failures are corrected. Cf.

Order W 49, 73-74 (JA65, 72-73) (Velrizon's failure to take

sufficient measures to protect CPNI does not require evidence

that unauthorized disclosures occurred).

Even as to the breach element, the statutory requirements that

carriers "protect the confidentiality of proprietary information

of" their "customers," 47 U.S.C. § 222(a), and "only use, disclose,

or permit access to individually identifiable customer
proprietary network information" as authorized or required by

law or with the approval of the customer, id. § 222(c)(l), do not

contain any negligence standard.            That the Commission's

implementing regulations require carriers to implement
"reasonable measures" to protect CPNI, 47 C.F.R. § 64.2010(a),

without imposing strict liability, does not transform Section 222

into a traditional negligence provision.


                             57
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 68 of 91




Given that Section 222's requirements differ markedly from the elements

of a common-law tort claim in nearly every material respect, Section 222

does not evince an "enduring link" to a "common law 'ancestolr"' covered
by Seventh Amendment jury-trial right. Jamesy, 603 U.S. at 125.

     Nor is Section 222 like "common-law claims * * * for tortious
invasion of privacy," such as "intrusion upon seclusion" or "public
disclosure of private facts" (Br. 46). Those are intentional torts. See
Restatement (Second) of Torts § 625A (intrusion upon seclusion applies

when one "intentionally intrudes"); id. § 625D cmt.a (public disclosure of

private facts is "confined to the giving of publicity" and does not cover "a

simple disclosure"). And they apply only to disclosures of information

that "would be highly offensive to a reasonable person." Id. §§ 625A,

6251). By contrast, Section 222 and the Commission's implementing
rules are violated whenever a telecommunications carrier fails to take
adequate measures to protect customer proprietary network information,

even if the carrier does not intentionally disclose the information (and

indeed even if no actual disclosure or misappropriation is known to have

occurred at all), and applies irrespective of whether anything in the
network information is "highly offensive."


                                       58
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 69 of 91




     Velrizon's reliance (Br. 46) on Salazar U. National Basketball Ass'n,

118 F.4th 533 (2d Cir. 2024), simply underscores the point. That case
involved a private cause of action providing for recovery of actual
damages for knowing disclosures (indeed, criminal disclosures) of a
narrow category of inherently sensitive personal information. See 18
U.S.C. § 2710. This case, by contrast, involves government enforcement

of telecommunication carrier's failure (irrespective of intent) to maintain

reasonable safeguards for various forms of technical network

information. That these matters in some sense all loosely involve

"information" does not indicate the kind of "close relationship between

the causes of action in this case and common law" necessary to make the
Seventh Amendment applicable. Jamesy, 603 U.S. at 125.

     This case is thus a far cry from Jamesy, in which securities-fraud

claims adjudicated by the SEC "1replicate[d] common law fraud," 603 U.S.

at 120, including by "deliberately us[ing] 'fraud' and other common law

terms of art" and "incorporat[ing] prohibitions from common law fraud

into federal securities law," id. at 125. Section 222 "d[oes] not borrow its

cause of action from the common law," does not "reiterate common law

terms of art," and "bring[s] no common law soil with [it]." Id. at 136-37.



                                       59
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 70 of 91




Lacking any analogous common-law cause of action, Verizon relies
heavily (Br. 44-45) on the punitive nature of forfeiture penalties as a
remedy. But even if the remedy is "the 'more important' consideration"
when an analogous "cause[] of action sound[s] in both law and equity,"
Jamesy, 603 U.S. at 123, the mere fact that forfeiture penalties may be

punitive does not peirfoirce implicate the Seventh Amendment when there

is no analogous common-law cause of action at all.

     b. The Seventh Amendment jury-trial right does not apply here

because this case involves public rights, not private rights. Order ii 97
(JA80-81).    Under the "public rights" exception, which applies in
"distinctive areas involving governmental prerogatives," Congress "may

assign [a] matter for decision to an agency without a jury, consistent with
the Seventh Amendment." Jamesy, 603 U.S. at 120, 127. These matters

"include[] relations with Indian tribes, the administration of public lands,

and the granting of public benefits such as payments to veterans,
pensions, and patent rights." Id. at 130 (citations omitted; emphasis
added).

     The forfeiture here arises from Verizon's possession and use of a
wireless spectrum license to provide wireless communications service,
which requires that it comply with the requirements of the

                                       60
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 71 of 91




Communications Act, including Section 222. See 47 U.S.C. §§ 301,
307(a), 332(c)(l).   The rights and responsibilities associated with
spectrum licenses are public rights. A spectrum license grants the holder
special rights (typically exclusive rights) to use a specific segment of
public spectrum, just as a patent grants the holder special rights to use
or commercialize an invention.

     A spectrum license "has the key features to fall within * * * the
public-rights doctrine," Oil States Energy Servs., LLC U. Greene's Energy

Grp., LLC, 584 U.S. 325, 335 (2018), for the same reasons a patent does.

Patents "far[] squarely within the public-rights doctrine," the Supreme
Court recounted in Oil States, because

     the grant of a patent involves a matter "arising between the
     government and others." * * * [T]he grant of a patent is a
     matter between "'the public, who are the grantors, and * * *
     the patentee.'" By "issuing * * * patents," the [government]
     "take[s] from the public rights of immense value and bestow[s]
     them upon the patentee." Specifically, patents are "public
     franchises" that the Government grants "to the inventors of
     new and useful improvements." The franchise gives the
     patent owner "the right to exclude others from making, using,
     offering for sale, or selling the invention throughout the
     United States." That right "did not exist at common law."
     Rather, it is a "creature of statute law."
Ibid. (citations omitted). Like patents, spectrum licenses are "a public

franchise" granted by the government to the licensee, id. at 334, subject


                                      61
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 72 of 91




to specific conditions (including, as relevant here, the requirement to
protect customers' CPNI). The spectrum rights granted by that franchise

belong to the public, who are the grantors. Id. at 334-35; see 47 U.S.C.
§ 301 (spectrum licenses "provide for the use of such channels, but not

the ownership thereof," which belongs to the public); In re Next Wave Pens.

Commc'ns, Inc., 200 F.3d 43, 50-51 (2d. Cir. 1999). These spectrum

rights "did not exist at common law," but "[r]ather [are] a 'creature of
statute law."' Oil States, 584 U.S. at 835 (citations and internal quotation
marks omitted). And, like patents, spectrum licenses have historically
been assigned through administrative proceedings (though today
commercial licenses are often awarded via auction). Next Waue, 200 F.3d

at 51.

      Because the forfeiture order seeks to enforce a condition closely
intertwined with the granting of a public franchise-a wireless spectrum
license-the order here concerns public rights, not a private right with a
common-law analogue, and therefore falls outside the Seventh
Amendment jury-trial right.

     c. More generally, regulation of common carriers-including
telephone carriers like Verizon-is a matter of public rights because it
falls in the "historic categories of adjudications," Jamesy, 603 U.S. at 130,

                                       62
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 73 of 91




that '"have been determined exclusively by [the executive and legislative]

blranches,'" id. at 128. "Common carriers exercise a sort of public office,

and have duties to perform in which the public is interested." Mann U.
Illinois, 94 U.S. 113, 130 (1877) (citing N.J. Steam Nav. Co. U. Merchs.   2




Bank of Bos., 47 U.S. (6 How.) 344, 382 (1848)). "Their business is,
therefore, 'affected with a public interest,"' and "when private property is

devoted to a public use, it is subject to public regulation." Ibid.

     This understanding of common-carrier regulation as implicating

public rights, rather than private rights, long predates the Founding. As

the Supreme Court explained in Mann, "when private property is
'affected with a public interest, it ceases to be uris privati Uiterally, of

private right] only." Id. at 126 (quoting Matthew Hale, De Portibus
Maris, in A Collection of Tracts Relative To the Law of England 77-78

(Francis Hargrave ed., 1787)). This concept traces at least as far back as

Lord Chief Justice Hale's legal treatises in the l 7th Century, "and has

been accepted without objection as an essential element in the law of
property ever since." Ibid., see also NetC/wice, L.L. C. U. Paxton, 49 F.4th

439, 469-73 (5th Cir. 2022) (discussing history of common carriage),

vacated and remanded, 603 U.S. 707 (2024).



                                       63
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 74 of 91




     A straight line runs through the long-settled understanding of
common-carriage regulation as implicating public rights (not private
rights) and the regulation of telecommunication service providers under
the Communications Act. In Crowell U. Benson, 285 U.S. 22 (1932)-one
of the seminal public-irights decisions cited in Jamesy, 603 U.S. at 130-

the Supreme Court listed among the "[f]amiliar illustrations of
administrative agencies created for the determination of [public rights]"
agencies that "exercise * * * the congressional power as to interstate and

foreign commerce," including the Interstate Commerce Commission's
oversight of railroad carriers and the Postmaster General's regulation of
mail facilities. Id. at 51 & n.l3 (citing Virginian Ry. Co. U. United States,

272 U.S. 658 (1926); Bates & Guild Co. U. Payne, 194 U.S. 106 (1904)).

The Communications Act and the powers given to the Commission to
oversee interstate telecommunications grew directly out of these agencies

and their regulation of common carriage. See Scripps-Howard Radio U.

FCC, 316 U.S. 4, 6-7 (1942) (explaining that the Communications Act

combined the Interstate Commerce Commission's "general regulatory
authority over telephone and telegraph carriers" and the Postmaster
General's authority "to fix rates on government teleglrams").


                                       64
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 75 of 91




      Just as "the political branches ha[ve] traditionally held exclusive
power over" categories including "the granting of public benefits such as
* * * patent rights," Jamesy, 603 U.S. at 130, so too the political

branches hold exclusive power over the wireless spectrum used by
telecommunications carriers like Verizon and the public franchises that
these carriers have been granted. For these reasons, "Congress [could]
assign the matter for decision to an agency without a jury, consistent
with the Seventh Amendment," id. at 127, even if Verizon did not
separately have the opportunity to pursue a jury trial under Section
504(a) .




                                      65
           Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 76 of 91




                             CONCLUSION
     The petition for review should be denied.

Dated: January 17, 2025               Respectfully submitted,

                                      /s/ Scott M Noueck
                                      P. Michele Ellison
                                        General Counsel
                                      Jacob M. Lewis
                                        Deputy General Counsel
                                      Sarah E. Citrin
Doha G. Mekki                          Deputy Associate General Counsel
  Acting Assistant                    Scott M. Noveck
    Attorney General                    Counsel
Robert B. Nicholson                   FEDERAL COMMUNICATIONS
Matthew A. Waring                       COMMISSION
  Attorneys                           45 L Street NE
U.S. DEPARTMENT oF JUSTICE            Washington, DC 20554
950 Pennsylvania Ave. NW              (202) 418-1740
Washington, DC 20530                  fcclitigation@fcogov
Counsel for Respondent                Counsel for Respondent Federal
  United States of Ameriea              Communications Commission




                                     66
             Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 77 of 91




                   CERTIFICATE OF COMPLIANCE
         Certificate of Compliance With Type-Volume Limitation,
          Typeface Requirements and Type Style Requirements
l.   This document complies with the type-volume limit of Fed. R. App.
     P. 32(a)(7)(B) and 2d Cir. Rule 32.l(a)(4)(A) because, excluding the
     parts of the document exempted by Fed. R. App. P. 32(f):
     X      this document contains 13,379 words, or
     0      this document uses a monospaced typeface and contains
            lines of text.
2.   This document complies with the typeface requirements of Fed. R.
     App. P. 32(a)(5) and the type style requirements of Fed. R. App, P.
     32(a)(6) because:
     X      this document has been prepared in a proportionally spaced
            typeface using Microsoft Word for Office 365 in l4-point
            Century Schoolbook, or
     0      this document has been prepared in a monospaced spaced
            typeface using                         with                 .

                                     /s/ Scott M Noveek
                                     Scott M. Noveck
                                     Counsel for Respondents




                                       67
Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 78 of 91




          STATUTORY ADDENDUM
                  Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 79 of 91




                     STATUTORY ADDENDUM CONTENTS

                                                                                                 Page
Communications Act of 1934, as amended, 47 U.S.C. §§ 151 et seq.:

    47 U.S.C. § 217 .............................................................................. Add. 2

    47 U.S.C. § 222 .............................................................................. Add. 2

    47 U.S.C. § 503 .............................................................................. Add. 4

    47 U.S.C. § 504 .............................................................................. Add. 6

47 C.F.R. § 1.80.................................................................................. Add. 7

47 C.F.R. Part 64, Subpart U, 47 C.F.R. §§ 64.2001 et seq.:

    47 C.F.R. § 64.2001 ....................................................................... Add. 9

    47 C.F.R. § 64.2003 ..................................................................... Add. 10

    47 C.F.R. § 64.2007 ..................................................................... Add. II

    47 C.F.R. § 64.2008 ..................................................................... Add. II

    47 C.F.R. § 64.2010 ..................................................................... Add. 13




                                               Add. l
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 80 of 91




Section 217 of the Communications Act, 47 U.S.C. § 217, provides:
     Sec. 217 [47 U.S.C. § 217]. Liability of carrier for acts and
        omissions of agents.
         In construing and enforcing the provisions of [this Act], the act,
     omission, or failure of any officer, agent, or other person acting for
     or employed by any common carrier or user, acting within the scope
     of his employment, shall in every case be also deemed to be the act,
     omission, or failure of such carrier or user as well as that of the
     person.

Section 222 of the Communications Act, 47 U.S.C. § 222, provides in
pertinent part:
     Sec. 222 [47 U.S.C. § 222]. Privacy of customer information.
         (a) In General.-Every telecommunications carrier has a duty
     to protect the confidentiality of proprietary information of, and
     relating   to,     other   telecommunication       carriers,      equipment
     manufacturers, and customers, including telecommunication
     carriers reselling telecommunications services provided by a
     telecommunications carrier.
                                   *      *     *

         (c) Confidentiality of Customer Proprietary Network
     Information.-
            (l) Privacy requirements for telecommunications
        carriers.-Except as required by law or with the approval of
        the customer, a telecommunications carrier that receives or
         obtains customer proprietary network information by virtue of
         its provision of a telecommunications service shall only use,
         disclose, or permit access to individually identifiable customer
         proprietary network information in its provision of (A) the
         telecommunications service from which such information is
         derived, or (B) services necessary to, or used in, the provision of
         such telecommunications service, including the publishing of
         directories.
                                   *      *     *




                                   Add. 2
       Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 81 of 91




    (d) Exceptions.-Nothing in this section prohibits a
telecommunications carrier from using, disclosing, or permitting
access to customer proprietary network information obtained from
its customers, either directly or indirectly through its agents-
                              *      *     *

       (4) to provide call location information concerning the user
   of a commercial mobile service * * *
            (A) to a public safety answering point, emergency
        medical service provider or emergency dispatch provider,
        public safety, fire service, or law enforcement official, or
        hospital emergency or trauma care facility, in order to
        respond to the user's call for emergency services,
            (B) to inform the user's legal guardian or members of
       the user's immediate family of the user's location in an
       emergency situation that involves the risk of death or
       serious physical harm; or
           (C) to providers of information or database
       management services solely for purposes of assisting in the
       delivery of emergency services in response to an emergency.
                              *      *     *

    (f) Authority to Use Location Information.-For purposes
of subsection (c)(l), without the express prior authorization of the
customer, a customer shall not be considered to have approved the
use or disclosure of or access to-
        (l) call location information concerning the user of a
    commercial mobile service * * * other than in accordance with
    subsection (d)(4); or
        (2) automatic crash notification information to any person
    other than for use in the operation of an automatic crash
    notification system.
                              *      *     *




                              Add. 3
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 82 of 91




         (h) Definitions.-As used in this section:
             (l) Customer proprietary network information.-The
         term "customer proprietary network information" means-
                 (A) information that relates to the quantity, technical
             configuration, type, destination, location, and amount of
             use of a telecommunications service subscribed to by any
             customer of a telecommunications carrier, and that is made
             available to the carrier by the customer solely by virtue of
             the carrier-customer relationship; and
                 (B) information contained in the bills pertaining to
             telephone exchange service or telephone toll service
             received by a customer of a carrier;
         except that such term does not include subscriber list
         information.
                                   *      *     *


Section 503 of the Communications Act, 47 U.S.C. § 503, provides in
pertinent part:
     Sec. 503 [47 U.S.C. § 503]. Forfeitures.
                                   *      *     *

        (b)(1) Any person who is determined by the Commission, in
     accordance with paragraph (3) or (4) of this subsection, to have-
            (A) willfully or repeatedly failed to comply substantially
        with the terms and conditions of any license, permit, certificate,
        or other instrument or authorization issued by the Commission;
            (B) willfully or repeatedly failed to comply with any of the
         provisions of [this Act] or of any rule, regulation, or order issued
         by the Commission under [this Act] or under any treaty,
         convention, or other agreement to which the United States is a
         party and which is binding upon the United States;
             (C) violated any provision of section 317(c) or 509(a) of [this
         Act]; or
             (D) violated any provision of section 1304, 1343, 1464, or
         2252 of title 18;
     shall be liable to the United States for a forfeiture penalty. * * *

                                   Add. 4
       Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 83 of 91




    (2) * * * (B) If the violator is a common carrier subject to the
provisions of [this Act] or an applicant for any common carrier
license, permit, certificate, or other instrument of authorization
issued by the Commission, the amount of any forfeiture penalty
determined under this subsection shall not exceed $100,000 for
each violation or each day of a continuing violation, except that the
amount assessed for any continuing violation shall not exceed a
total of $1,000,000 for any single act or failure to act described in
paragraph (l) of this subsection.
                              *      *     *

    (E) The amount of such forfeiture penalty shall be assessed by
the Commission, or its designee, by written notice. In determining
the amount of such a forfeiture penalty, the Commission or its
designee shall take into account the nature, circumstances, extent,
and gravity of the violation and, with respect to the violator, the
degree of culpability, any history of prior offenses, ability to pay,
and such other matters as justice may require.
                              *      *     *

    (3)(A) At the discretion of the Commission, a forfeiture penalty
may be determined against a person under this subsection after
notice and an opportunity for a hearing before the Commission or
an administrative law judge thereof in accordance with section 554
of title 5. Any person against whom a forfeiture penalty is
determined under this paragraph may obtain review thereof
pursuant to section 402(a) of this title.
    (B) If any person fails to pay an assessment of a forfeiture
penalty determined under subparagraph (A) of this paragraph,
after it has become a final and unappealable order or after the
appropriate court has entered final judgment in favor of the
Commission, the Commission shall refer the matter to the Attorney
General of the United States, who shall recover the amount
assessed in any appropriate district court of the United States. In
such action, the validity and appropriateness of the final order
imposing the forfeiture penalty shall not be subject to review.




                              Add. 5
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 84 of 91




         (4) Except as provided in paragraph (3) of this subsection, no
     forfeiture penalty shall be imposed under this subsection against
     any person unless and until-
             (A) the Commission issues a notice of apparent liability, in
         writing, with respect to such person;
             (B) such notice has been received by such person, or until
         the Commission has sent such notice to the last known address
         of such person, by registered or certified mail; and
             (C) such person is granted an opportunity to show, in
         writing, within such reasonable period of time as the
        Commission prescribes by rule or regulation, why no such
        forfeiture penalty should be imposed.
     Such a notice shall (i) identify each specific provision, term, and
     condition of any Act, rule, regulation, order, treaty, convention, or
     other agreement, license, permit, certificate, instrument, or
     authorization which such person apparently violated or with which
     such person apparently failed to comply; (ii) set forth the nature of
     the act or omission charged against such person and the facts upon
     which such charge is based; and (iii) state the date on which such
     conduct occurred. Any forfeiture penalty determined under this
     paragraph shall be recoverable pursuant to section 504(a) of [this
     Act] .
                                   *      *     *


Section 504 of the Communications Act, 47 U.S.C. § 504, provides in
pertinent part:
     Sec. 504 [47 U.S.C. § 504]. Provisions Relating to Forfeitures.
         (a) The forfeitures provided for in [this Act] shall be payable
     into the Treasury of the United States, and shall be recoverable,
     except as otherwise provided with respect to a forfeiture penalty
     determined under section 503(b)(3) of [this Act], in a civil suit in the
     name of the United States brought in the district where the person
     or carrier has its principal operating office or in any district through
     which the line or system of the carrier runs: Provided, That any
     suit for the recovery of a forfeiture imposed pursuant to the
     provisions of [this Act] shall be a trial de novo: Provided further,

                                   Add. 6
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 85 of 91




     That in the case of forfeiture by a ship, said forfeiture may also be
     recoverable by way of libel in any district in which such ship shall
     arrive or depart. Such forfeitures shall be in addition to any other
     general or specific penalties provided in [this Act]. It shall be the
     duty of the various United States attorneys, under the direction of
     the Attorney General of the United States, to prosecute for the
     recovery of forfeitures under [this Act]. The costs and expenses of
     such prosecutions shall be paid from the appropriation for the
     expenses of the courts of the United States.
                                   *      *     *


47 C.F.R. § 1.80 provides in pertinent part:
     § 1.80 Forfeiture Proceedings.
                                   *      *     *

         (b) Limits on the amount of forfeiture assessed-
                                   *      *     *

         (II) Factors considered in determining the amount of the
     forfeiture penalty. In determining the amount of the forfeiture
     penalty, the Commission or its designee will take into account the
     nature, circumstances, extent and gravity of the violations and,
     with respect to the violator, the degree of culpability, any history of
     prior offenses, ability to pay, and such other matters as justice may
     require.
                                   *      *     *

         TABLE 3 To PARAGRAPH (b)(l l)-ADJUSTMENT CRITERIA FOR
     SECTION 503 FORFEITURES
         Upward Adjustment Criteria:
           (l) Egregious misconduct.
           (2) Ability to pay/relative disincentive.
           (3) Intentional violation.
           (4) Substantial harm.
           (5) Prior violations of any FCC requirements.
           (6) Substantial economic gain.
           (7) Repeated or continuous violation.

                                   Add. 7
       Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 86 of 91




   Downward Adjustment Criteria:
        (l) Minor violation.
        (2) Good faith or voluntary disclosure.
        (3) History of overall compliance.
        (4) Inability to pay.
    NOTE 2 TO PARAGRAPH (b)(l l): Guidelines for Assessing
Forfeitures. The Commission and its staff may use the guidelines
in tables l through 4 of this paragraph (b)(ll) in particular cases.
The Commission and its staff retain the discretion to issue a higher
or lower forfeiture than provided in the guidelines, to issue no
forfeiture at all, or to apply alternative or additional sanctions as
permitted by the statute. The forfeiture ceilings per violation or
per day for a continuing violation stated in section 503 of the
Communications Act and the Commission's rules are described in
paragraph (b)(l2) of this section. These statutory maxima became
effective September 13, 2013. Forfeitures issued under other
sections of the Act are dealt with separately in table 4 to this
paragraph (b)(ll).
                              *      *     *

    (f) Alternative procedures. In the discretion of the Commission,
a forfeiture proceeding may be initiated either: (l) By issuing a
notice of apparent liability, in accordance with paragraph [(g)] of
this section, or (2) a notice of opportunity for hearing, in accordance
with paragraph [(h)] .
     (g) Notice of apparent liability. Before imposing a forfeiture
penalty under the provisions of this paragraph, the Commission or
its designee will issue a written notice of apparent liability.
     (l) Content of notice. The notice of apparent liability will:
     (i) Identify each specific provision, term, or condition of any act,
rule, regulation, order, treaty, convention, or other agreement,
license, permit, certificate, or instrument of authorization which
the respondent has apparently violated or with which he has failed
to comply,
    (ii) Set forth the nature of the act or omission charged against
the respondent and the facts upon which such charge is based,


                              Add. 8
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 87 of 91




         (iii) State the date(s) on which such conduct occurred, and
         (iv) Specify the amount of the apparent forfeiture penalty.
         (2) Delivery. The notice of apparent liability will be sent to the
     respondent, by certified mail, at his last known address (see § l.5) .
         (3) Response. The respondent will be afforded a reasonable
     period of time (usually 30 days from the date of the notice) to show,
     in writing, why a forfeiture penalty should not be imposed or should
     be reduced, or to pay the forfeiture. Any showing as to why the
     forfeiture should not be imposed or should be reduced shall include
     a detailed factual statement and such documentation and affidavits
     as may be pertinent.
         (4) Forfeiture order. If the proposed forfeiture penalty is not
     paid in full in response to the notice of apparent liability, the
     Commission, upon considering all relevant information available to
     it, will issue an order canceling or reducing the proposed forfeiture
     or requiring that it be paid in full and stating the date by which the
     forfeiture must be paid.
          (5) Judicial enforcement of forfeiture order. If the forfeiture is
     not paid, the case will be referred to the Department of Justice for
     collection under section 504(a) of the Communications Act.
                                   *      *     *


47 C.F.R. § 64.2001 provides in pertinent part:
     § 64.2001 Basis and purpose.
         (a) Basis. The rules in this subpart are issued pursuant to the
     Communications Act of 1934, as amended.
         (b) Purpose. The purpose of the rules in this subpart is to
     implement section 222 of the Communications Act of 1934, as
     amended, 47 U.S.C. 222.




                                   Add. 9
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 88 of 91




47 C.F.R. § 64.2003 provides in pertinent part:
     § 64.2003 Definitions.
                                   *      *     *

         (e) Communications-related services. The term "communications-
     related services" means telecommunications services, information
     services typically provided by telecommunications carriers, and
     services related to the provision or maintenance of customer
     premises equipment.
                                   *      *     *

         (g) Customer proprietary network information (CPNI). The
     term "customer proprietary network information (CPNI)" has the
     same meaning given to such term in section 222(h)(l) of the
     Communications Act of 1934, as amended, 47 U.S.C. 222(h)(l).
                                   *      *     *

         (i) Information services typically provided by telecommunica-
     tions carriers. The phrase "information services typically provided
     by telecommunications carriers" means only those information
     services (as defined in section 3(20) of the Communication Act of
     1934, as amended, 47 U.S.C. 153(20)) that are typically provided by
     telecommunications carriers, such as Internet access or voice mail
     services. Such phrase "information services typically provided by
     telecommunications carriers," as used in this subpart, shall not
     include retail consumer services provided using Internet Web sites
     (such as travel reservation services or mortgage lending services),
     whether or not such services may otherwise be considered to be
     information services.
                                   *      *     *

        (k) Opt-in approval. The term "opt-in approval" refers to a
     method for obtaining customer consent to use, disclose, or permit
     access to the customer's CPNI. This approval method requires that
     the carrier obtain from the customer affirmative, express consent
     allowing the requested CPNI usage, disclosure, or access after the
     customer is provided appropriate notification of the carrier's
     request consistent with the requirements set forth in this subpart.
                                   *      *     *



                                   Add. 10
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 89 of 91




47 C.F.R. § 64.2007 provides in pertinent part:
     § 64.2007 Approval required for use of customer proprietary
         network information.
                                   *      *     *

         (b) Use of opt-out and opt-in approval processes. A
     telecommunications carrier may, subject to opt-out approval or opt-
     in approval, use its customer's individually identifiable CPNI for
     the purpose of marketing communications-related services to that
     customer. A telecommunications carrier may, subject to opt-out
     approval or opt-in approval, disclose its customer's individually
     identifiable CPNI, for the purpose of marketing communications-
     related services to that customer, to its agents and its affiliates that
     provide communications-related services. A telecommunications
     carrier may also permit such persons or entities to obtain access to
     such CPNI for such purposes. Except for use and disclosure of CPNI
     that is permitted without customer approval under § 642005, or
     that is described in this paragraph, or as otherwise provided in
     section 222 of the Communications Act of 1934, as amended, a
     telecommunications carrier may only use, disclose, or permit access
     to its customer's individually identifiable CPNI subject to opt-in
     approval.

47 C.F.R. § 64.2008 provides in pertinent part:
     § 64.2008 Notice required for use of customer proprietary
         network information.
                                   *      *     *

         (b) Individual notice to customers must be provided when
     soliciting approval to use, disclose, or permit access to customers'
     CPNI.
         (c) Content of notice. Customer notification must provide
     sufficient information to enable the customer to make an informed
     decision as to whether to permit a carrier to use, disclose, or permit
     access to, the customer's CPNI.




                                   Add. II
       Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 90 of 91




    (l) The notification must state that the customer has a right,
and the carrier has a duty, under federal law, to protect the
confidentiality of CPNI.
    (2) The notification must specify the types of information that
constitute CPNI and the specific entities that will receive the CPNI,
describe the purposes for which CPNI will be used, and inform the
customer of his or her right to disapprove those uses, and deny or
withdraw access to CPNI at any time.
    (3) The notification must advise the customer of the precise
steps the customer must take in order to grant or deny access to
CPNI, and must clearly state that a denial of approval will not
affect the provision of any services to which the customer
subscribes. However, carriers may provide a brief statement, in
clear and neutral language, describing consequences directly
resulting from the lack of access to CPNI.
    (4) The notification must be comprehensible and must not be
misleading.
    (5) If written notification is provided, the notice must be clearly
legible, use sufficiently large type, and be placed in an area so as to
be readily apparent to a customer.
    (6) If any portion of a notification is translated into another
language, then all portions of the notification must be translated
into that language.
    (7) A carrier may state in the notification that the customer's
approval to use CPNI may enhance the carrier's ability to offer
products and services tailored to the customer's needs. A carrier
also may state in the notification that it may be compelled to
disclose CPNI to any person upon affirmative written request by
the customer.
    (8) A carrier may not include in the notification any statement
attempting to encourage a customer to freeze third-party access to
CPNI.
    (9) The notification must state that any approval, or denial of
approval for the use of CPNI outside of the service to which the
customer already subscribes from that carrier is valid until the
customer affirmatively revokes or limits such approval or denial.

                              Add. 12
            Case: 24-1733, 01/17/2025, DktEntry: 69.1, Page 91 of 91




        (10) A telecommunications calrrielr's solicitation for approval
     must be proximate to the notification of a customer's CPNI rights.
                                     *    *     *

         (e) Notice requirements specific to opt-in. A telecommunications
     carrier may provide notification to obtain opt-in approval through
     oral, written, or electronic methods. The contents of any such
     notification must comply with the requirements of paragraph (c) of
     this section.
                                     *    *     *


47 C.F.R. § 64.2010 provides in pertinent part:
     § 64.2010 Notice required for use of customer proprietary
        network information.
        (a) Safeguarding CPNI. Telecommunications carriers must
     take reasonable measures to discover and protect against attempts
     to gain unauthorized access to CPNI. Telecommunications carriers
     must properly authenticate a customer prior to disclosing CPNI
     based on customer-initiated telephone contact, online account
     access, or an in-store visit.
                                     *    *     *




                                     Add. 13
